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15
                                UNITED STATES DISTRICT COURT
16
                            NORTHERN DISTRICT OF CALIFORNIA
17
      NAEEM SEIRAFI, EDWARD BATON,                   Case No. 3:21-cv-02470-EMC
18    ANTHONY COMILLA, BRETT DEENEY,
      and ABRAHAM VILINGER, individually and         THIRD AMENDED CLASS ACTION
19    on behalf of all others similarly situated,    COMPLAINT

20                             Plaintiffs,           1. NEGLIGENCE;
                                                     2. DECLARATORY JUDGMENT AND
21                        v.                            INJUNCTIVE RELIEF;
                                                     3. VIOLATION OF CALIFORNIA
22    LEDGER SAS, and TASKUS, INC.                      UNFAIR COMPETITION LAW,
                                                        BUSINESS AND PROFESSIONS
23                             Defendants.              CODE SECTION 17200, et seq.;
                                                     4. VIOLATION OF CALIFORNIA
24                                                      CONSUMERS LEGAL REMEDIES
                                                        ACT, CIVIL CODE SECTION 1750, et
25                                                      seq.;
                                                     5. NEW YORK DECEPTIVE TRADE
26                                                      PRACTICES ACT, N.Y. Gen. Bus. Law
                                                        § 349 et seq.
27
28



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 1              Individually and on behalf of all others similarly situated, Plaintiffs Naeem Seirafi

 2 (“Seirafi”), Edward Baton (“Baton”), Anthony Comilla (“Comilla”), Brett Deeney (“Deeney”), and
 3 Abraham Vilinger (“Vilinger”), (collectively, “Plaintiffs”), bring this Action against Defendant
 4 Ledger SAS (“Ledger”) and Defendant TaskUs, Inc (“TaskUs”) (collectively, “Defendants”).
 5 Plaintiffs’ allegations are based upon personal knowledge as to themselves and their own acts, and
 6 upon information and belief as to all other matters based on the investigation conducted by and
 7 through Plaintiffs’ attorneys. Plaintiffs believe that substantial additional evidentiary support will
 8 exist for the allegations set forth herein, after a reasonable opportunity for discovery. This Third
 9 Amended Complaint is intended to conform with the Court’s Order granting in part and denying in
10 part Defendants’ motion to dismiss the Second Amended Complaint. The omission of certain
11 parties, claims, and allegations is not intended as an abandonment or waiver thereof and Plaintiffs
12 reserve their appellate rights.
13       I.     INTRODUCTION

14                                 “We know security means never standing still.” 1
                                                                         -Ledger.
15
16            “TaskUs’s culture embraces having a robust, nucleus-focus on security and privacy. Nothing
                                less is acceptable in today’s modern business world.” 2
17
                                                                           -TaskUs.
18
19              1.     Plaintiffs seek redress for the substantial, class-wide damages that Ledger’s and

20 TaskUs’s misconduct caused in connection with a massive 2020 data breach that those companies
21 negligently allowed, recklessly ignored, and then intentionally sought to cover up. The breach has
22 publicly leaked approximately 272,000 pieces of detailed personally identifiable information
23 (“PII”), including consumers’ full names, email addresses, postal addresses, and telephone numbers.
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25
26   1
     Ledger, CYPHERHUNTER, https://www.cypherhunter.com/en/p/ledger/ (last accessed Nov. 9,
   2023)
27 2 TaskUs Security & Compliance, TASKUS (Oct. 2017), https://www.taskus.com/wp-
28 content/uploads/2016/10/TaskUS_WhitePaper_Security-Compliance_1.4.pdf (last accessed Nov.
   9, 2023)

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 1          2.      Ledger purports to provide “the highest level of security for crypto assets.” Its

 2 primary products are hardware wallets (“Ledger wallets”) that store the “private keys” of an
 3 individual’s crypto-assets. These private keys are akin to a bank-account password in that access to
 4 the private keys allows an individual to transfer one’s crypto-assets. But unlike a bank-account
 5 transaction, crypto-asset transactions are non-reversible: whoever gains access to the private keys
 6 associated with a crypto-asset can then transfer or spend that asset with impunity. Ledger purports
 7 to provide owners of crypto-assets with the best security to protect private keys from hackers and
 8 other bad actors.
 9          3.      Ledger’s sale platform is built on security and trust. As Ledger describes, “we are a

10 unique digital security ecosystem that provides protection and is built on verifiable trust across our
11 people, hardware and software.” 3
12          4.      Ledger thus knows that anonymity is necessary to protect against hacking attempts.

13 Crypto-asset transactions are publicly visible on the underlying blockchain, but using solely public
14 information, nefarious actors cannot identify the owner of particular crypto-assets. Without
15 personally identifying information, hackers face an immense obstacle to targeting an individual’s
16 crypto-assets. Conversely, when a hacker knows the identity of a crypto-asset owner, the hacker can
17 construct a workable attack catered to a target.
18          5.      Consequently, to the world of hackers, Ledger’s customer list is a gold mine. It is a

19 list of people who have converted substantial wealth into anonymized crypto-assets that are
20 transferrable without a trace. Using that list, hackers can manipulate or compel those owners to
21 make untraceable and irreversible transfers of the crypto-assets into the hackers’ accounts. The
22 stakes of security for crypto-assets are thus enormous. With anonymity, owning a Ledger wallet is
23 a cutting-edge method of securing crypto-assets. But without anonymity, owning a Ledger device
24 simply creates a target for hackers.
25
26
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28     We Are Ledger: A Brand Vision, LEDGER (Nov. 22, 2019) https://www.ledger.com/we-are-ledger
     (last accessed Nov. 9, 2023).

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 1          6.      Ledger understands these realities and purports to account for them. As Ledger

 2 claims in its advertising: “If you don’t want to get hacked, get a Ledger wallet.” 4 Ledger advertises
 3 that it has the “highest security standards,” that it “continuously look[s] for vulnerabilities on Ledger
 4 products as well as our providers’ products in an effort to analyze and improve the security,” and
 5 that its products provide “the highest level of security for crypto assets.” Ledger has built a
 6 reputation of the highest possible trust, protection, and security for consumers. Based on Ledger’s
 7 advertising claims, consumers expect that their personal data, along with their cryptocurrency assets,
 8 will remain anonymous, secure, and private. With that expectation, consumers specifically seek out
 9 the products and services provided by Ledger. True and correct screenshots of Ledger’s advertising
10 claims on its website are depicted below:
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     4
28    Enjoy Security, Ownership and Ease of Use for Your Crypto with Ledger , LEDGER,
     https://www.ledger.com/ (last accessed Nov. 9, 2023).

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 1          7.      To enhance its brand and increase sales, Ledger engages in high impact digital

 2 advertising worldwide, targeting consumers globally. Regardless of where a person resides, that
 3 person saw Ledger’s similarly stated promises regarding Ledger’s robust security, including secure
 4 mechanisms and measures to protect consumers’ cryptocurrency as well as personal data.
 5          8.      Despite its repeated promises and world-wide advertising campaign touting state of

 6 the art security for its customers, Ledger repeatedly and profoundly failed to protect its customers’
 7 identities, causing targeted attacks on thousands of its customers’ crypto-assets and causing Class
 8 members to receive far less security than they thought they purchased with a Ledger wallet. Without
 9 the needed security, Ledger wallets are valueless or, at the very least, of much lower value. Plaintiff
10 Seirafi and other similarly situated California consumers would not have purchased Ledger wallets
11 had they known that Ledger has failed to utilize the promised security measures, employed multiple
12 vendors, and failed to oversee such vendors’ (including Shopify and TaskUs) handling of the data.
13          9.      Between approximately September 2019 and August 2020, Ledger employed non-

14 party Shopify Inc. and Shopify (USA) Inc. (collectively “Shopify”) to handle payments for Ledger
15 wallets and allowed access to a vast amount of customer data, even after the wallets were sold.
16 Shopify, in turn, employed TaskUs—a U.S. based outsourcing company registered to conduct
17 business in California, that provides a number of internet-based content services and outsources
18 support from the Philippines. Shopify hired TaskUs to provide customer support and data security
19 consulting services for Ledger’s sales website and the Ledger Live services, in which Ledger
20 customers could obtain live support for their investments and effectuate transfers of their assets on
21 Ledger’s website.
22          10.     Specifically, TaskUs was entrusted with the information collected by the Ledger Live

23 service and the Ledger website via Shopify’s collection of the data through their e-commerce
24 services to Ledger. TaskUs therefore had access to, and was entrusted with, the sensitive user PII
25 that would ultimately allow cybercriminals to target Plaintiffs and Class members with sophisticated
26 phishing attacks.
27          11.     Between April and June of 2020, certain “rogue” TaskUs employees took advantage

28 of the Ledger customer information provided to the company through Shopify’s e-commerce

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 1 services and acquired and exported Plaintiffs’ and Class members’ customer transactional records.
 2 The TaskUs employees also obtained data relating to other merchants.
 3          12.    On September 22, 2020, Shopify announced that “two rogue members of our support

 4 team were engaged in a scheme to obtain customer transactional records of certain merchants,”
 5 involving “the data of less than 200 merchants” and that their support teams had “been in close
 6 communication with affected merchants to help them navigate this issue and address any of their
 7 concerns.” This announcement made it clear that Shopify was aware of the Data Breach before the
 8 day of the announcement and even had time to “conduct an investigation” and notify affected
 9 merchants.
10          13.    On February 19, 2021, a federal grand jury indicted a California man for wire fraud

11 related to the Data Breach because he paid an employee of a Shopify vendor (TaskUs) to provide
12 him with Shopify’s merchant data. 5
13          14.    The two customer support agents working for the Shopify vendor, TaskUs, obtained

14 merchant and customer data of Shopify’s customers, including Ledger. Using this access, the
15 California man obtained a list of Ledger’s customers, as well as email addresses and other contact
16 information. TaskUs negligently hired their agents and failed to oversee them, resulting in this
17 security breach.
18          15.    Ledger knew or should have known of TaskUs’s involvement. Ledger and Shopify

19 failed to oversee the handling of the data, including the handling of the data by TaskUs’ agents in
20 the Philippines, resulting in the instant security breach. By May/June 2020, Ledger’s customer list
21 and their sensitive data had made its way onto the internet’s black market, making Ledger wallet
22 owners vulnerable.
23          16.    The circumstances grew much worse over the next six (6) months. From June 2020

24 through December 2020, at least one of the hackers who had acquired the data published it online,
25 providing over 270,000 names, physical addresses, phone numbers, and order information, as well
26 as email addresses that were used to purchase the Ledger Wallets, to every hacker in the world.
27
     5
28    See Criminal Indictment, United States v. Heinrich, 8:21-cr-22-JLS (C.D. Cal. 2021), Docket
     No. 16 at 2.

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 1 Defendants have made a collective effort to cover up the full extent of the affected data they failed
 2 to protect. As a direct result, the attacks on Ledger’s customers grew exponentially, with customers
 3 losing money, facing threats of physical violence, and even feeling vulnerable in their own homes.
 4 Ledger wallet owner continue to be targeting by scammers, receiving counterfeit hardware wallets
 5 at their home addresses feigning to be an updated, “safe” device from Ledger itself, but is actually
 6 designed for malware delivery. 6 Indeed, using the customer shipping addresses and other sensitive
 7 PII that Ledger, Shopify, and TaskUs had failed to protect, hackers threatened to enter the homes of
 8 and attack Ledger customers unless those customers made untraceable ransom payments with the
 9 crypto-assets Ledger was supposed to secure.
10          17.     In the face of these obviously emergent circumstances, rather than acting to protect

11 its customers, Defendants Ledger and TaskUs, along with Shopify, collectively stood still. In fact,
12 Shopify’s head of privacy and data protection officer paid no attention to the publicized articles and
13 reports about the data breach and made no effort to timely investigate the scope of the alleged data
14 breach, prevent and stop the data breach from happening, or notify the affected customers. Ledger
15 used a different approach: it utterly denied that any breach had occurred and continued to claim its
16 products provided the best possible protection for crypto-assets. Defendants did not even inform the
17 affected Ledger’s customers of the breach. According to Ledger, it learned of the Data Breach on
18 July 14, 2020, but failed to promptly issue a statement or notify any affected Ledger customers of
19 the Data Breach. On July 29, 2020, Ledger partially admitted that it was involved in the Data Breach,
20 yet Defendants continued to withhold any attempts to notify affected Ledger customers of the Data
21 Breach. When Ledger finally announced that its marketing and e-commerce database had been
22 exposed in June of 2020, it vastly underestimated the breadth of affected customers (estimating
23 9,500 affected). 7 As the customer list began to spread on the dark web, only in December of 2020
24
25
26   6
     Inside The Scam: Victims Of Ledger Hack Are Receiving Fake Hardware Wallets, NASDAQ (June
   17, 2021), https://www.nasdaq.com/articles/inside-the-scam:-victims-of-ledger-hack-are-
27 receiving-fake-hardware-wallets-2021-06-17 (last accessed Nov 9, 2023).
   7
28 See Ledger Breach Vastly Underestimated, 270,000 Clients Data Leaked, CRYPTOBRIEFING (Dec.
   21, 2020), https://cryptonews.net/en/news/security/439897/.

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 1 did Ledger finally admit the existence of the breach but nevertheless disputed its publicly-reported
 2 scope, and instead significantly minimized the extent of the data breach.
 3          18.     By December 21, 2020, however, Ledger could no longer cover up the data breach

 4 that all Defendants had known or should have known for at least six (6) months. On that day, the
 5 hacked customer list was posted publicly and became widely available. In a message posted on its
 6 website from its CEO, Ledger finally admitted to the scope of the attack, stating that the company
 7 “very deeply regret[s] this situation.” 8 Ledger’s CEO further acknowledged that, as a result of the
 8 hack, “many [Ledger customers] have been targeted by e-mail and SMS phishing campaigns and
 9 that it’s clearly a nuisance.” 9
10          19.     Ledger’s and TaskUs’s misconduct, failure to prevent the data breach, and failure to

11 take action for six (6) months (if not longer), has made targets of Ledger customers, with their
12 identities known or available to every hacker in the world. Ledger’s persistently deficient response
13 compounded the harm. In failing to individually notify every affected customer or admit to the full
14 scope of the breach, Ledger left customers unaware of the data breaches and concomitant hacking
15 risks. The natural and foreseeable result was that many customers fell victim to hackers’ phishing
16 emails disguised as emails from Ledger. Further, with their PII now in hackers’ hands as a result of
17 the Data Breach, Plaintiffs and Class members are no longer in possession of a secure
18 cryptocurrency portfolio.
19          20.     Ledger’s deficient response to the data breach included a failure to provide any

20 support for customers who had been targeted by the breach or who feared they would be targeted in
21 the future. Users are informed that “Ledger does not provide phone support.” Instead, customers are
22 directed to contact Ledger by submitting a written complaint in an online form or by email, to which
23 Ledger would respond after weeks (if it responded at all). Following the December breach,
24 customers reported emailing Ledger dozens of times with no response. Users reported through
25
26   8
     Message by Ledger’s CEO-Update on the July Data Breach, LEDGER (Dec. 21, 2020),
   https://www.ledger.com/message-ledgers-ceo-data-
27 leak#:~:text=We%20are%20aware%20that%20many,security%20for%20your%20digital%20asse
28 ts
   9
      (last accessed Nov 9, 2023).
     Id.

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 1 Twitter that they submitted customer service requests that went unanswered for several weeks,
 2 several months, and hundreds of days. Ledger acknowledged its deficient response times, claiming
 3 after the breach “[w]e are facing an increase in requests which may result in a longer reply time
 4 from Ledger Support. We apologize for the delay while we work to provide you the best service.”
 5          21.    But Ledger never provided “the best service.” It did not even provide a minimum

 6 level of service. Instead, Ledger had become the primary source of vulnerability to owners of crypto-
 7 assets and then left those customers without the help they needed. For those seeking to secure crypto-
 8 assets, it had become safer to have never purchased a product or service from Ledger. And all the
 9 while, Ledger stood still. Thus, had they known of Ledger’s lax security practices, unwillingness to
10 promptly and completely disclose data breaches, and complete lack of timely customer support,
11 Ledger customers would not have purchased Ledger wallets or would not have paid as much as they
12 did for Ledger wallets.
13          22.    On behalf of the individuals affected by the data breach nationwide described herein,

14 Plaintiffs seek, under state common law and consumer-protection statutes, to redress Defendants’
15 misconduct occurring from April 1, 2020, to the present (the “Class Period”).
16    II.   PARTIES

17 Plaintiffs
18          23.    Plaintiff Seirafi is an individual residing in Los Angeles, California. Seirafi

19 purchased the Ledger Nano X for use as a digital wallet to control his cryptocurrency assets. On or
20 around March 2019, Seirafi saw advertisements online for Ledger’s services and hardware. Relying
21 on Ledger’s representations, Seirafi purchased the Ledger Nano X hardware wallet from Ledger’s
22 official website for approximately $120. In doing so, Seirafi was required to provide Ledger with
23 his first and last name, email address, telephone number, and postal address. In making his purchase
24 decision, Seirafi reasonably relied upon the data security services advertised by Ledger, believing
25 Ledger’s corresponding services to be safer, better protected, and more secure as a result. Seirafi
26 would not have purchased the Ledger Nano X if he knew that the sensitive information collected by
27 Ledger would be at risk. Seirafi has suffered damages and remains at a significant risk now that his
28 PII has been leaked online. Plaintiff Seirafi continues to see Ledger’s advertised products and

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 1 services but does not know whether Ledger’s representations regarding security are truthful.
 2 Plaintiff Seirafi would purchase Ledger products again in the future if Ledger’s products, e-
 3 commerce, and support services actually maintained the level of security that Ledger promises to
 4 uphold—extending to Ledger’s vendors as well. This way, Plaintiff Seirafi would know that: (1) all
 5 entities with access to his PII and private information through Ledger would be maintaining
 6 adequate security practices in order to safeguard it; and (2) Ledger would be maintaining adequate
 7 security of his crypto-assets.
 8          24.    Plaintiff Baton is a resident of Georgia. In July 2017, he purchased a Ledger Nano

 9 S from the Ledger online store for use as a digital wallet to control his cryptocurrency assets. He
10 subsequently purchased a second Ledger Nano S from the Ledger online store. In making those
11 purchases, he reasonably relied on Ledger’s misrepresentations about the security of its products.
12 He would not have purchased the products if he had known that his sensitive information collected
13 by Ledger would be at risk or that his purchase would become public knowledge. On December 21,
14 2020, Ledger informed him that his data had been part of a breach. Baton has suffered damages
15 from the breach as set forth below.
16          25.    Plaintiff Comilla is a resident of Albany, New York. Comilla purchased the Ledger

17 Nano X from the Ledger online store for use as a digital wallet to control his cryptocurrency assets
18 on or about June 2, 2020. In doing so, Comilla was required to provide Ledger with his first and last
19 name, phone number, postal address, and email address. In making his purchase, he reasonably
20 relied on Ledger’s misrepresentations about the security of its products, believing that that Ledger
21 Nano X was his safest and best option for storing his cryptocurrency. Comilla would not have
22 purchased the Ledger product if he knew that the sensitive information collected by Ledger would
23 be at risk. Comilla has suffered damages from the breach as set forth below.
24          26.    Plaintiff Deeney is a resident of London in the United Kingdom. Deeney purchased

25 a Ledger “Back-Up Pack,” consisting of a Ledger Nano X and a Ledger Nano S, on or about
26 February 21, 2020 through Ledger’s official website for € 114.16 (excluding tax) for use as a digital
27 wallet to control his cryptocurrency assets. In doing so, Deeney was required to provide Ledger with
28 his first and last name, the email address he used exclusively for crypto-asset transactions, his

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 1 telephone number, and his postal address including unit number. In making his purchase, he
 2 reasonably relied on Ledger’s misrepresentations about the security of its products. Deeney would
 3 not have purchased the Ledger product if he knew that the sensitive information collected by Ledger
 4 would be at risk. Deeney has suffered damages from the breach as set forth below.
 5          27.    Plaintiff Vilinger is a resident of Tel Aviv, Israel. Vilinger purchased the Ledger

 6 Nano S from the Ledger online store for use as a digital wallet to control his cryptocurrency assets
 7 on or about January 15, 2018. In doing so, Vilinger was required to provide Ledger with his first
 8 and last name, phone number, postal address, and email address. In making his purchase, he
 9 reasonably relied on Ledger’s misrepresentations about the security of its products, believing their
10 ads and website that indicated the Ledger Nano S was a “cold” offline, secure, and not hackable
11 wallet. Vilinger would not have purchased the Ledger product if he knew that the sensitive
12 information collected by Ledger would be at risk. Vilinger has suffered damages from the breach as
13 set forth below.
14 Defendants
15          28.    Defendant Ledger SAS is a French simplified joint-stock company headquartered in

16 Paris, France. Ledger SAS maintains its principal place of business at 1 Rue du Mail, 75002 Paris,
17 France. It also has offices located at 121 2nd St., #4, San Francisco, CA 94105. Defendant Ledger
18 SAS offers the hardware wallet Products to secure and control cryptocurrency assets on an online
19 international marketplace, including the State of California. Ledger SAS, directly and through its
20 agents, has substantial contacts with and receives substantial benefits and income from and through
21 the State of California. Ledger SAS is the owner and distributor of the products at issue, was
22 entrusted with the PII of Plaintiff and the Class, and is the company that created and/or authorized
23 the false, misleading, and deceptive advertisements and promises (jointly and severally with Ledger
24 Technologies, Inc.).
25          29.    Defendant TaskUs, Inc., at all material times hereto, was a Delaware corporation

26 headquartered in California and moved its residence to Texas in 2021. TaskUs, at all relevant times
27 herein was registered to do business in California, and previously headquartered at 3400 Airport
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 1 Ave, Bldg. D, Santa Monica, CA 90405. TaskUs has now moved to 1650 Independence Drive, Suite
 2 100, New Braunfels, Texas, 78132.
 3 III.     JURISDICTION AND VENUE

 4          30.    Jurisdiction of this Court is founded upon 28 U.S.C. § 1332(d) because the matter in

 5 controversy exceeds the value of $5,000,000, exclusive of interests and costs, there are more than
 6 100 class members, and the matter is a class action in which any member of a class of plaintiffs is a
 7 citizen of a state different from any defendant.
 8          31.    This Court has personal jurisdiction over all parties because all Defendants conduct

 9 business in the State of California, and the substantial events leading up to the breach at issue have
10 occurred in California.
11          32.    This Court also has personal jurisdiction over Ledger SAS because Ledger SAS

12 solicits customers, including Plaintiffs and Class members, in the United States and California/
13 Ledger SAS directly ships a substantial amount of its hardware wallets into the United States and
14 California. But for those sales and soliciting those purchases, it would not have collected the PII
15 that was compromised in this case. In fact, 33% of the compromised two hundred and seventy-three
16 thousand (273,000) accounts with address information belonged to Class members with U.S.
17 addresses.
18          33.    This Court also has personal jurisdiction over Ledger SAS because Shopify (USA)

19 acted as that entity’s agent for the conduct giving rise to Plaintiffs’ claims. With respect to the
20 breached data of Ledger SAS’s customers, the responses to the breaches, and the conduct giving
21 rise to Plaintiffs’ causes of action, Ledger SAS had the right to control the conduct of Shopify and
22 TaskUs, which acted as Ledger’s agent and was authorized to act on Ledger SAS’s behalf with
23 respect to Ledger’s customers.
24          34.    The Ninth Circuit has concluded that this Court has jurisdiction over Ledger with

25 respect to Plaintiffs’ California consumer law claims. Plaintiffs’ claims arise out of their purchase
26 of Ledger wallets, which requires their agreement to the Sales Terms and Conditions, Privacy
27 Policy, and Ledger Live Terms of Use. Each agreement includes a broad forum-selection clause
28 which is enforceable, except with respect to Plaintiffs who are “California resident plaintiffs

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 1 bringing class action claims under California consumer law.” Doe 1 v. AOL LLC, 552 F.3d 1077,
 2 1084 (9th Cir. 2009). 10
 3          35.     This Court also has personal jurisdiction over TaskUs because, at all material times

 4 hereto, TaskUs was headquartered in California (albeit it negligently hired and also failed to oversee
 5 its agents in Philippines). TaskUs was responsible for the negligent hiring and oversight of the
 6 agents who abused their access to merchant and customer data of Shopify’s customers, including
 7 Ledger. This security breach caused Ledger wallet owners’ data to be released to the internet’s black
 8 market, compromising their PII.
 9 IV.      FACTUAL ALLEGATIONS

10          A. Data Breaches and the Market for PII

11          36.     Data breaches in the United States have become commonplace – from nearly 125

12 million breaches in just the fourth quarter of 2020, to approximately 15 million breaches in the third
13 quarter of 2022 (increasing 167% compared to the previous quarter) – with the goal of criminals
14 being to monetize the stolen data. 11
15          37.     When a victim’s data is compromised in a breach, the victim is exposed to serious

16 ramifications regardless of the sensitivity of the data—including but not limited to identity theft,
17 fraud, decline in credit, inability to access healthcare, as well as legal consequences. 12
18          38.     The U.S. Department of Justice’s Bureau of Justice Statistics has found that “among

19 victims who had personal information used for fraudulent purposes, 29% spent a month or more
20 resolving problems” and that resolution of those problems could take more than a year. 13
21
     10
22      See Memorandum Opinion, Dkt. 53-1, Baton et al. v. Ledger SAS et al, D.C. No. 3:21-cv-
     02470-EMC, Case No. 21-17036 (9th Cir. 2022).
23   11
        Ani Petrosyan, Number of Data Records Exposed Worldwide From 1st Quarter 2020 to 3rd
     Quarter 2022, STATISTA,
24
     https://www.statista.com/statistics/1307426/number-of-data-breaches-worldwide/ (last accessed
25   Nov. 9, 2023).
     12
        2017 Annual Data Breach Year-End Review, IDENTITY THEFT RESOURCE CENTER,
26   https://www.idtheftcenter.org/wp-
     content/uploads/images/breach/2017Breaches/2017AnnualDataBreachYearEndReview.pdf (last
27   accessed Nov. 9, 2023).
     13
        Erika Harrell, Victims of Identity Theft, 2014, U.S. DEPARTMENT OF JUSTICE, BUREAU OF
28

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 1            39.   The U.S. Government Accountability Office has concluded that it is common for

 2 data thieves to hold onto stolen data for extended periods of time before utilizing it for identity
 3 theft. 14 In the same report, the Government Accountability Office noted that while credit monitoring
 4 services can assist with detecting fraud, those services do not stop it. 15
 5            40.   When companies entrusted with people’s data fail to implement industry best

 6 practices, cyberattacks and other data exploitations can go undetected for a long period of time. This
 7 worsens the ramifications and can even render the damage irreparable.
 8            41.   PII is a valuable commodity for which a black market exists on the dark web, among

 9 other places. Personal data can be worth from $1,000 - $1,200 on the dark web 16, 17 and the
10 legitimate data brokerage industry is valued at more than $250 billion dollars. The value is even
11 higher for the PII that cannot be changed.
12            42.   In this black market, criminals seek to sell the spoils of their cyberattacks to identity

13 thieves who desire the data to extort and harass victims, take over victims’ identities to open
14 financial accounts, and otherwise engage in illegal financial transactions under the victims’ names.
15            43.   PII has a distinct, high value—which is why legitimate companies and criminals seek

16 to obtain and sell it. As alleged in more detail below, there is a growing market for individuals’
17 data. 18
18
19 JUSTICE STATISTICS (Nov. 13, 2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf (last accessed
     Nov. 9, 2023).
20   14
        U.S. Government Accountability Office Report to Congressional Requesters, Data Breaches –
21   Range of Consumer Risks Highlights Limitations of Identity Theft Services (March 2019),
     https://www.gao.gov/assets/700/697985.pdf (last accessed Nov. 9, 2023).
22   15
        Id.
     16
        Ryan Smith, Revealed-how much is personal data worth on the dark web?, INSURANCE
23   BUSINESS MAGAZINE (May 1, 2023),
     https://www.insurancebusinessmag.com/ca/news/cyber/revealed--how-much-is-personal-data-
24
     worth-on-the-dark-web-444455.aspx (last accessed Oct. 26, 2023).
     17
25      Maria LaMagna, The sad truth about how much your Google data is worth on the dark web,
     MARKETWATCH (June 6, 2018), https://www.marketwatch.com/story/spooked-by-the-facebook-
26   privacy-violations-this-is-how-much-your-personal-data-is-worth-on-the-dark-web-2018-03-20
     (last accessed Nov. 9, 2023).
27   18
        Emily Wilson, The Worrying Trend of Children’s Data Being Sold on the Dark Web, TNW
28   (Feb. 23, 2019), https://thenextweb.com/contributors/2019/02/23/children-data-sold-the-dark-web/
     (last accessed Nov. 9, 2023).

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 1          44.     The U.S. Department of Justice’s Bureau of Justice Statistics has found that “among

 2 victims who had personal information used for fraudulent purposes, 29% spent a month or more
 3 resolving problems” and that resolution of those problems could take more than a year.
 4          45.     As the FTC recognizes, identity thieves can use this information to commit an array

 5 of crimes including identify theft, and financial fraud. 19 Indeed, a robust “cyber black market” exists
 6 in which criminals openly post stolen PII on multiple underground Internet websites, commonly
 7 referred to as the “dark web.”
 8          46.     Further, criminals often trade stolen PII on the “cyber black-market” for years

 9 following a breach. Cybercriminals can post stolen PII on the internet, thereby making such
10 information publicly available.
11          B. Defendants’ Duty to Safeguard User’s Private Information

12          47.     Defendants were prohibited by the Federal Trade Commission Act (“FTCA”) (15

13 U.S.C. §45) from engaging in “unfair or deceptive acts or practices in or affecting commerce.” The
14 Federal Trade Commission (“FTC”) has concluded that a company’s failure to maintain reasonable
15 and appropriate data security for consumers’ sensitive personal information is an “unfair practice”
16 in violation of the FTC Act. See, e.g., FTC v. Wyndham Worldwide Corp., 799 F.3d 236 (3d Cir.
17 2015).
18          48.     The FTC has promulgated numerous guides for businesses that highlight the

19 importance of implementing reasonable data security practices.
20          49.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

21 for Business, which established cybersecurity guidelines for businesses. 20 The guidelines note that
22 businesses should protect the personal customer information that they keep; properly dispose of
23 personal information that is no longer needed; encrypt information stored on computer networks;
24 understand their network’s vulnerabilities; and implement policies to correct any security problems.
25
26   19
      What To Know About Identity Theft, FEDERAL TRADE COMMISSION,
   https://consumer.ftc.gov/articles/what-know-about-identity-theft (last accessed Nov. 9, 2023).
27 20 Protecting Personal Information: A Guide for Business, FEDERAL TRADE COMMISSION,
28 https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
   information.pdf (last accessed Nov. 9, 2023).

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 1          50.     The FTC further recommends that companies not maintain Private Information

 2 longer than is needed for authorization of a transaction; limit access to private data; require complex
 3 passwords to be used on networks; use industry-tested methods for security; monitor for suspicious
 4 activity on the network; and verify that third-party service providers have implemented reasonable
 5 security measures.
 6          51.     The FTC has brought enforcement actions against businesses for failing to

 7 adequately and reasonably protect customer data, treating the failure to employ reasonable and
 8 appropriate measures to protect against unauthorized access to confidential consumer data as an
 9 unfair act or practice prohibited by Section 5 of the FTCA 15 U.S.C. § 45.
10          52.     Defendants’ failure to employ reasonable and appropriate measures to protect against

11 unauthorized access to customers’ PII constitutes an unfair act or practice prohibited by Section 5
12 of the FTCA, 15 U.S.C. § 45.
13          53.     The FTC recommends that businesses have a comprehensive communication plan

14 that reaches all affected audiences—employees, customers, investors, business partners, and other
15 stakeholders—in the case of a data breach. This plan should be designed to quickly notify people
16 that their personal information has been compromised so that they can take steps to reduce the
17 chance that their information will be misused.
18          54.     The FTC also instructs businesses to provide detailed notices to affected parties that

19 “clearly describe what you know about the compromise.” This information, at a minimum, should
20 include: “how it happened; what information was taken; how the thieves have used the information
21 (if you know); what actions you have taken to remedy the situation; what actions you are taking to
22 protect individuals, such as offering free credit monitoring services; and how to reach the relevant
23 contacts in your organization.” 21
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27   21
     Data Breach Response: A Guide for Business, FEDERAL TRADE COMMISSION,
28 https://www.ftc.gov/business-guidance/resources/data-breach-response-guide-business (last
   accessed Nov. 9, 2023).

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 1            C. Bitcoin and Crypto-Assets

 2            55.     A crypto-asset is a digital asset designed to work as a medium of exchange or a store

 3 of value or both. Crypto-assets leverage a variety of cryptographic principles to secure transactions,
 4 control the creation of additional units, and verify the transfer of the underlying digital assets.
 5            56.     Bitcoin was the world’s first decentralized crypto-asset. It is also the largest and most

 6 popular crypto-asset, with a market capitalization exceeding $700 billion as of the filing of this
 7 complaint. 22 (The term “bitcoin” can refer to both a computer protocol and a unit of exchange.
 8 Accepted practice is to use the term “Bitcoin” to label the protocol and software, and the term
 9 “bitcoin” to label the units of exchange.)
10            57.     At its core, Bitcoin is a ledger of addresses and transfer amounts that tracks the

11 ownership and transfer of every bitcoin in existence. This ledger is called the blockchain. The
12 blockchain is completely public.
13            58.     Blockchains act as the central technical commonality across most crypto-assets.

14 While each blockchain may be subject to different technical rules and permissions based on the
15 preferences of its creators, they are typically designed to achieve a similar goal of decentralization.
16            59.        In April 2013, there were only seven crypto-assets listed on coinmarketcap.com, a

17 popular website that tracks the crypto-asset markets. As of this filing, the site monitors more than
18 8,825 crypto-assets. 23
19                  i.      Transacting with Bitcoin and Blockchain Addresses

20            60.     Because all blockchain addresses and transfers are public, the way to verify

21    ownership of an address is through public and private keys.

22            61.     Each address has one public key and one private key associated with it. With the

23    private key, one can control the address and can move bitcoin in or out of the account. The public

24    key is more like a digital signature that is used to verify ownership and transfers of funds. The

25    blockchain address, public key, and private key are often mathematically related to one another.

26
     22
          Cryptocurrency Prices Today By Market Cap, FORBES, https://www.forbes.com/digital-
27 assets/crypto-prices/?sh=385f823b2478 (last accessed Nov. 9, 2023).
   23
28    Today’s Cryptocurrency Prices by Market Cap, COIN MARKET CAP,
     https://coinmarketcap.com/?page=89 (last accessed Nov. 21, 2023)

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 1          62.     The private key is, however, the only mechanism that allows for the transfer of

 2    crypto-asset. With the private key—and nothing more—a person can implement an untraceable

 3    transfer of the crypto-asset from one digital address to another. Without the private key, the crypto-

 4    asset can never be transferred. In other words, anyone with the private key has total control over

 5    the funds. Thus, to safeguard crypto-assets, one must keep the private key private.

 6                ii.      Security and Crypto-Assets

 7          63.         It is the cryptographic principles behind the use of public and private keys that give

 8    crypto-assets their name. Cryptography is at the heart of blockchain transactions, and security is

 9    one of the chief advantages and selling points of the technology.

10          64.     Nonetheless, since the inception of crypto-assets, there have been high-profile hacks

11 to steal them. One of the first large Bitcoin exchanges (handling over 70% of all Bitcoin transactions
12 at the time) lost a staggering 850,000 bitcoins to theft, with a value exceeding $31 billion USD
13 today.
14          65.     It has been estimated that over $4 billion crypto-assets were lost to theft and related

15 crimes in 2019. 24 That risk of theft continues today.
16          66.      Because it is nearly impossible to guess a user’s private key, hackers employ various

17 methods to gain access to private keys. Once a hacker obtains the private key for an address, the
18 hacker controls its funds. Unlike traditional accounts housed at banks, there are no approvals or
19 fraud monitoring warnings for moving crypto-assets out of an account. Moreover, any transfer is
20 effectively untraceable and irreversible, leaving the recipient immune from identification or claw-
21 back.
22          67.     Given this constant threat of theft, security over an individual’s private keys is

23 paramount.
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26   24
      Jeb Su, Hackers Stole Over $4 Billion From Crypto Crimes In 2019 So Far, Up From $1.7
   Billion In All Of 2018, FORBES (Aug. 15, 2019),
27 https://www.forbes.com/sites/jeanbaptiste/2019/08/15/hackers-stole-over-4-billion-from-crypto-
28 crimes-in-2019-so-far-up-from-1-7-billion-in-all-of-2018/?sh=42ef46855f58 (last accessed Nov.
   9, 2023).

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 1          D. Ledger and Hardware Wallets

 2          68.     Ledger is a $1.41 billion 25 corporation that is used world-wide for its unique

 3 hardware cryptocurrency wallets that allow consumers to secure and manage their cryptocurrency
 4 assets. Ledger’s line of hardware security devices quickly gained popularity and positioned Ledger
 5 as a global leader in the market with 1,000,000 units sold in more than 165 countries. Ledger designs
 6 and sells the Ledger Nano X and the Ledger Nano S, both hardware wallets, along with a
 7 corresponding application and other services for consumers to control and track their assets. Ledger
 8 advertises that its technologies constitute a “unique digital security ecosystem that provides
 9 protection and is built on verifiable trust across our people, hardware and software.”
10          69.     As set forth above, Ledger offers solutions to consumers to keep their crypto-assets

11 safe. Ledger’s main product offerings are “hardware wallets.” These are physical consumer items
12 that appear similar to a USB storage device. This is an example of a Ledger hardware wallet:
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21          70.     Despite being named a “wallet,” such wallets do not “hold” cryptocurrency in the

22 way a traditional wallet stores cash. Rather, consumers store their private keys on these physical
23 devices, which are never connected to the internet (at least in the case of Ledger’s products).
24          71.     The wallet itself can be accessed only by entering a PIN. Simply misplacing the

25 wallet thus poses no risk of theft.
26
27   25
      Crypto wallet company Ledger raises another $108 million, TECHCRUNCH (Mar. 30, 2023),
28 https://techcrunch.com/2023/03/30/crypto-wallet-company-ledger-raises-another-108-million/
   (last accessed Nov. 9, 2023).

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 1          72.     Ledger also produces “Ledger Live,” a software product designed to interact with

 2 devices. This screenshot shows its core functionality, in that a user can use the software to buy, sell,
 3 send, and receive various crypto-assets:
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19          73.     Ledger has been highly successful selling these devices and services. Having raised
20 $88 million in funding, it is one of the market leaders for crypto-asset security.
21          74.     Ledger collects and processes the personal data of all consumers who purchase
22 Ledger products, including, but not limited to, first and last names, e-mail addresses, post addresses,
23 and telephone numbers.
24          75.     This PII was collected by Ledger when Plaintiff and the Class purchased the
25 Products. Ledger’s privacy policy, which was updated on July 28, 2020, outlines the security
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 1 measures used to protect consumer’s PII and what this information is used for. 26 Under the privacy
 2 policy, Ledger claims to implement:
 3                  “[N]ecessary technical and organizational measures, in order to
                    ensure the security and confidentiality of your personal data collected
 4                  and processed, and particularly, to prevent your personal data from
                    being distorted, damaged or communicated to unauthorized third
 5                  parties, by ensuring an appropriate level of security with regards to
                    the risks associated with the processing and the nature of the personal
 6                  data to be protected.”

 7                 i.   Hacking Hardware Wallets

 8          76.     Users of hardware wallets generally face discrete risks of theft by hacking because

 9 private keys exist only where the owners store them. If an owner stores the private keys only on a
10 hardware wallet with no internet connectivity—and not on a personal computer—then traditional
11 hacking cannot reveal those private keys. Instead, the main sources of risk are: (1) “phishing” attacks
12 to trick a user into revealing the private PIN to their hardware wallet; or (2) physical intimidation
13 that forces users into paying money or revealing that information to a hacker.
14          77.     Phishing is the practice of purporting to be a legitimate institution and contacting

15 targets with the goal of soliciting passwords, banking information, or other sensitive information.
16 Common examples of this practice include mass spam emails sent to mimic the look and feel of a
17 banking website. The email recipient receives the email, believes she needs to link to the account to
18 update information, clicks a link in the email that goes to a sham website made to look like the real
19 bank website, and enters real login information into the sham website. The owners of the sham
20 website then possess that victim’s real banking login and password.
21          78.     Internet users are becoming more and more savvy to phishing, however, requiring

22 hackers to craft attacks that are increasingly realistic and personalized and less reliant on large-scale
23 mass efforts.
24          79.     Phishing attacks are also generally harder to accomplish against Ledger users, who

25 are typically more skeptical and security conscious and, in turn, savvier to phishing practices. For
26 example, Ledger users will commonly create special email addresses used just for interacting with
27
     26
28      Privacy Policy, LEDGER (April 2022), https://shop.ledger.com/pages/privacy-policy (last
     accessed Nov. 9, 2023).

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 1 accounts that manage their crypto assets. And Ledger users will often have a separate dedicated
 2 phone number to use for dual-factor authentication when interacting with their crypto assets. 27 These
 3 dedicated email addresses and phone numbers add another layer of protection to avoid phishing
 4 attacks. Users know that crypto-asset-related emails, texts, or calls to any “main” email address or
 5 phone number are illegitimate.
 6          80.    Similarly, using a separate phone number can protect users from other attacks, such

 7 as SIM swap attacks. 28 A SIM swap attack occurs when an attacker gains control of an individual’s
 8 phone number by convincing the individual’s mobile carrier to switch it to a new SIM card—one
 9 that the attacker possesses. Once attackers gain control of that phone number, they can then bypass
10 dual-factor authentication requirements.
11          81.    Plaintiff Baton—who has a professional background, including in technology—was

12 as savvy as anyone buying crypto assets and hardware wallets as far back as 2017. Accordingly, in
13 addition to buying multiple Ledger products for storing his crypto assets, Plaintiff Baton took other
14 precautions. For example, he acquired a separate mobile phone and always interacted with crypto
15 assets using a virtual private network to encrypt communications and shield his IP address.
16          82.    Similarly, Plaintiff Deeney is an experienced, sophisticated, and security-savvy

17 crypto asset investor. He used a dedicated email address for his crypto asset transactions.
18          83.    As to physical intimidation, even the savviest internet user cannot insulate himself

19 from such threats. A hacker can contact an owner of crypto-assets and threaten the owner with
20 physical violence unless an effective ransom is paid (usually in the form of an untraceable transfer
21 of crypto-assets transfer to the hacker). These threats are rare. Without knowing an owner’s home
22 address, physical location, or even phone number, a hacker would have difficulty making a credible
23 threat prompting payment from the victim. And hackers cannot identify viable targets by simply
24 looking up publicly listed names, phone numbers, and addresses. Crypto-assets have not yet been
25
26   27
      Dual authentication is a method in which a user is granted access to some system or device only
   after successfully presenting two or more pieces of evidence of rightful access, such as unique
27 knowledge (e.g., a password) or unique possession (e.g., a key).
   28
28    SIM stands for “subscriber identification module,” and a SIM card is a physical circuit that is
   used to securely store the unique identifier of any user on a cellular network.

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 1 widely adopted; therefore, attackers have no way of knowing whether would-be targets own crypto-
 2 assets or hardware wallets. In addition, for owners of crypto-assets, there is no analog for the
 3 physical bank ATM—where would-be attackers could potentially wait, identify victims with funds,
 4 and intimidate those victims.
 5          84.     For these reasons, the single greatest point of vulnerability for owners of Ledger

 6 wallets is public disclosure of the information that a particular person owns the wallet. If hackers
 7 know the names and/or email addresses of people who own Ledger wallets, then hackers can target
 8 those people with sophisticated phishing schemes and tailored threats.
 9          85.     Accordingly, by operating in the crypto-asset security space, Ledger places itself

10 between user’s funds and would-be hackers. The anonymity of its customer list is a key and obvious
11 element of the security that Ledger offers. By analogy, a manufacturer of state-of-the-art lock safes
12 would not publish its customer list, which is valuable to would-be thieves seeking to identify targets
13 possessing high-value items. Similarly, public disclosure of Ledger’s customers puts those
14 individuals in the crosshairs of the very hackers the company seeks to impede.
15          86.     Furthermore, PII, such as names and email addresses, may be combined with other

16 sources of information to de-anonymize Ledger account holders. Not only may this information be
17 used, as it was here, to create sophisticated “phishing” attacks, but it may also be used to de-
18 anonymize user wallets and (through analysis of blockchain data) individual transactions.
19          87.     A great deal of information about Plaintiffs and Class Members is already available

20 on the dark web. The availability of Plaintiffs’ and Class Members’ content and information on the
21 dark web imposes further uncompensated costs on those individuals. The dark web permits
22 criminals further access to users’ content and information that make the thefts that occurred here
23 more easily accomplished.
24          88.     As reported by CBS News, “The little drips of personal data leaked from every major

25 data breach—your name, email, phone number, Social Security number, and mailing address—pool
26 in a murky corner of the internet known as the dark web. Some of these leaks might seem relatively
27 insignificant, but criminals exploit your personal data for profit and to help other criminal operations
28 prosper. The dark web is where these transactions happen.”

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 1          89.      The content and information exposed in the Ledger data breach certainly amplified

 2 the value of information already available on the dark web. On the dark web, “personal information
 3 was mixed in with wholesale data dumps of information about thousands of people,” allowing the
 4 information to be aggregated into “packages” that have street value. 29
 5                ii.       Ledger Advertises State-of-the-Art Security for Crypto-Assets

 6          90.      Ledger’s consistent message to consumers is that Ledger wallets offer the best

 7 possible protection for crypto-assets. Their tagline embodies this value proposition: “If you don’t
 8 want to get hacked, get a Ledger wallet.” Ledger represented to consumers, prior to the data breach
 9 at issue, the following:
10                   Critical digital assets are the new oil and securing them is the most
                     important challenge for the coming years.
11
                     That’s where we come in. We are Ledger.
12
                     We are a unique digital security ecosystem that provides protection
13                   and is built on verifiable trust across our people, hardware and
                     software. And in today’s world, we know that trust deserves proof.
14                   This is why we provide transparency into how our technology works.

15                   We relentlessly stress-test our own technology solutions. Our Ledger
                     Donjon team is made up of world-class experts with extensive
16                   backgrounds in the security and smartcard industries. They
                     continuously look for vulnerabilities on Ledger products as well as
17                   our providers’ products in an effort to analyze and improve the
                     security. We know security means never standing still.
18
     (emphasis added).
19
            91.         Ledger further and publicly asserted, prior to the data breach at issue:
20
                        •      “At Ledger we are developing hardware wallet technology that
21                             provides the highest level of security for crypto assets;”
22
                        •      “Ledger hardware wallet, combined with the Ledger Live application,
23                             is the best solution to secure and control your crypto assets;”

24                      •      “Ledger hardware wallets are designed with the highest security
                               standard to keep your crypto secure at all time;”
25
26
27   29
      Dan Patterson, We found our personal data on the dark web. Is yours there, too?, CBS NEWS
28 (March  25, 2019) https://www.cbsnews.com/news/we-found-our-personal-data-on-the-dark-web-
   is-yours-there-too/ (Last accessed Nov. 21, 2023)

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 1                         “Ledger enables resilience through verifiable trust. Knowing trust is
                           the greatest way to make our world truly move forward and progress.”
 2
            92.    Ledger also republished, prior to the data breach at issue, acknowledgments from
 3
 4 reputable third-party commentators:
 5                 •       “French Crypto Wallet Ledger Is Solving Bitcoin’s Biggest Flaw” (as
                           featured in Forbes);
 6
                   •       “Ledger makes sure private keys never become accessible to thieves,
 7
                           online or anywhere else” (as featured in Bloomberg);
 8
                   •       “Ledger removes the risk of being hacked” (as featured on CNBC).
 9
10          93.    Ledger maintained consistent advertising that their products, such as the Ledger

11 Nano X, can protect personal data anywhere. In one advertisement, Ledger represented: “Some say
12 that technology is getting too complex, that personal data can’t be protected. Some say that the only
13 safe place is home; that crypto currencies aren’t safe. We at Ledger believe that your data should be
14 safe everywhere you go, that security can co-exist with simplicity. We believe that your assets
15 should be in good hands. Yours.” 30
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28      Ledger, Ledger Nano X – Keep You Crypto Secure, Everywhere, YOUTUBE (Jan. 7, 2019)
     https://youtu.be/5xkqIwFWMoM?si=nqPWSzikBbHnLka5 (last accessed Aug. 21, 2024).

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 1          94.     Through those statements, Ledger conveyed to consumers that Ledger wallets,

 2 coupled with Ledger’s services, provide the highest standard of security for owners of crypto-assets.
 3 Ledger further conveyed that it was tirelessly assessing its wallets and supporting services for
 4 vulnerabilities, while adapting to protect against those threats. By buying a Ledger wallet,
 5 consumers purportedly were buying into a comprehensive security support system that maximized
 6 protections against threats to crypto-assets.
 7          95.     Making the forgoing, unequivocal representations, Ledger sold California Subclass

 8 members the Ledger Nano X wallet for $119 and the Ledger Nano S wallet for $59. California
 9 Consumer Subclass members would not have purchased these products at all, or would have paid
10 significantly less for them, had they known of Ledger’s lax security practices, unwillingness to
11 promptly and completely disclose data breaches, and failure to provide timely customer support.
12          E. Ledger Uses Shopify as an E-commerce Vendor

13          96.     Ledger sells its Nano products through a number of distributors, including retailers

14 like Amazon and Walmart. It also sells directly to consumers through https://shop.ledger.com/ (the
15 “Shopping Website”).
16          97.     Shopify powers Ledger’s Shopping Website. Shopify is an e-commerce giant. Over

17 one million businesses use its platform, and over $61 billion of sales occurred on its platform
18 through these businesses in 2019. By market capitalization it is one of the top 10 publicly-traded
19 company in Canada and was at one time Canada’s largest company by market capitalization.
20          98.     Shopify’s success is based on providing services to allow companies to easily

21 operate online stores. Shopify provides e-commerce solutions for businesses to allow them to easily
22 create digital storefronts. For example, Shopify allows you to create a well-designed web layout,
23 provides a payment provider to accept credit card payments, and makes various profit and inventory
24 applications available. These solutions are essentially a software product to which companies
25 subscribe to host digital stores.
26          99.     When users purchase directly from Ledger on its Shopping Website, they must

27 provide certain personal information before placing an order, such as their physical address, phone
28 number, and email address. Because Ledger uses Shopify’s services, Shopify acts as an intermediary

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 1 between Ledger and purchasers of Ledger’s products. Therefore, Shopify also has access to the
 2 personal information that purchasers provide.
 3          F. Shopify, in Turn, Uses TaskUs, Which Suffers a Data Breach

 4          100.   TaskUs, Inc., is a third-party company that provided customer support services to

 5 Shopify. TaskUs employees based in the Philippines had access to Shopify’s customer data, and
 6 specifically Ledger’s data because of its contract with Shopify Inc. subsidiary, Shopify International
 7 Limited.
 8          101.   In around 2019, the California man began conspiring with employees of TaskUs to

 9 obtain information regarding the customers of merchants, like Ledger, that used Shopify. At some
10 point in the 2020s, the California man obtained access to the personal information of Ledger’s
11 customers and acquired and exported Ledger’s customer transactional records (the “Data Breach”).
12 The California man also obtained data relating to other merchants from the TaskUs employees.
13          102.   TaskUs failed to make any efforts to notify anyone of the Data Breach.

14          103.   On September 22, 2020, Shopify announced that: (1) “two rogue members of our

15 support team were engaged in a scheme to obtain customer transactional records of certain
16 merchants;” (2) the “incident involv[ed] the data of less than 200 merchants;” and (3) “Our teams
17 have been in close communication with affected merchants to help them navigate this issue and
18 address any of their concerns.” 31 This announcement made it clear that Shopify was aware of the
19 data breach before the day of the announcement and even had time to “conduct an investigation”
20 and notify affected merchants.
21          104.   On February 19, 2021, a federal grand jury indicted the California man for wire fraud

22 for his role in causing the data breach. The indictment alleges that starting in May 2019, he paid an
23 employee of a Shopify vendor (TaskUs) to provide him with Shopify’s merchant data. The unnamed
24 vendor acted as Shopify’s agent, providing customer support services to Shopify customers on its
25 behalf. Upon information and belief, the vendor was TaskUs.
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28     Incident Update, SHOPIFY (Sept. 22, 2020), https://community.shopify.com/c/shopify-
     discussions/incident-update/td-p/888971 (last accessed Nov. 9, 2023).

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 1          105.   Ledger and TaskUs are global entities, that conduct business nationwide and

 2 globally, servicing consumers in the United States and in many foreign countries. They also provide
 3 services in virtually every state and advertise their platforms and products online targeting word-
 4 wide consumers.
 5          106.   Plaintiffs and the Class(es), while purchasing the Ledger’s products from cloud-

 6 based software and relying on the uniform representations made by Ledger, were injured as a result
 7 of actions stemming from San Francisco, California, and thus, they suffered an injury from wrongful
 8 conduct that occurred in California.
 9          107.   Specifically, Shopify, Ledger, and TaskUs caused and then covered up a massive

10 2020 data breach that led to substantial damages for consumers.
11          108.   TaskUs’s rogue members of their support team obtained customer transactional

12 records, including Ledger’s customers. Shopify’s agents then illegally exported customer
13 transactional records in April and June 2020. Nevertheless, neither Shopify nor Ledger
14 acknowledged the massive data breach, and they continued to cover up the rumors and incidents for
15 the ensuing months.
16          109.   Ledger’s misconduct, deceit, and concealment of material facts regarding the data

17 breach at issue deprived Plaintiffs and the Class of legal rights, causing injury. Plaintiff Seirafi
18 would purchase Ledger products again in the future if Ledger’s products and services actually
19 maintained the level of security that Ledger promises to uphold. This way, Plaintiff Seirafi would
20 know that Ledger would be maintaining adequate security of his crypto-assets, as well as his PII and
21 private information in Ledger’s possession.
22          110.   Here, the Data Breach involved the data of approximately 272,000 people, 32

23 approximately a third of whom live in the United States. 33 Hackers copied information such as
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     32
      E-commerce and Marketing data breach – FAQ, LEDGER, https://support.ledger.com/hc/en-
26 us/articles/360015559320-E-commerce-and-Marketing-data-breach-FAQ (last accessed Nov. 9,
   2023).
27 33 Larry Cermak, A detailed look at the Ledger data leak and other recent incidents, THE BLOCK
28 (Dec. 21, 2020), https://www.theblockcrypto.com/genesis/88706/a-detailed-look-at-the-ledger-
   data-leak-and-other-recent-incidents (last accessed Nov. 9, 2023).

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 1 names, order details, email addresses, physical addresses, and phone numbers. 34 And for many more
 2 users, hackers obtained the email address users used when buying their Ledger. 35
 3          111.    By the time Shopify announced the breach in September, Shopify notified every

 4 affected merchant that rogue employees had stolen their data, but neither Shopify nor Ledger warned
 5 the hundreds of thousands of vulnerable Ledger customers harmed by the Data Breach. Instead, as
 6 the timeline below explains, Ledger attempted to cover up and downplay the scale of the Data
 7 Breach, while Shopify did nothing to protect the owners of the data Shopify had failed to secure.
 8          G. Ledger’s Deficient Response to Early Warning Signs About the Breach

 9                 i.      April – June 2020: Ledger Initially Denies the Data Breach

10          112.     In May 2020, public rumors arose concerning the Data Breach. The rumors were that

11 Ledger’s consumer information from Shopify had been hacked. 36
12          113.     This publicly-stated concern was an opportunity for Ledger to get ahead of the

13 problem. Ledger should have, at a minimum: (1) disclosed the breach; (2) notified all impacted and
14 potentially impacted users; (3) offered services to help impacted users transition to new accounts;
15 (4) monitored for suspicious transactions; (5) hired third-party auditors to conduct security testing;
16 (6) trained employees to identify and contain similar breaches; and (7) trained and educated their
17 users about the threats they faced. Ledger was then on notice of the Data Breach and should have
18 started to investigate these rumors, and yet, Ledger ignored the information about the data breach.
19          114.        In choosing to ignore its duty to investigate the Data Breach, instead, Ledger’s

20 immediate reaction was to deny that there was a breach impacting Ledger’s customers. Ledger
21 falsely stated that “Rumors pretend our Shopify database has been hacked through a Shopify
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23   34
        Id.
     35
        Id.
24   36
        Jamie Redman, Hacker Attempts to Sell Data Allegedly Tied to Ledger, Trezor, Bnktothefuture
25   Customers, BITCOIN (May 24, 2020), https://news.bitcoin.com/hacker-attempts-to-sell-data-
     allegedly-tied-to-ledger-trezor-bnktothefuture-customers/ (last accessed Nov. 9, 2023.
26   @UnderTheBreach, TWITTER (May 24, 2020)
     https://twitter.com/underthebreach/status/1264460979322138628?ref_src=twsrc%5Etfw%7Ctwca
27   mp%5Etweetembed%7Ctwterm%5E1264460979322138628%7Ctwgr%5E%7Ctwcon%5Es1_&re
28   f_url=https%3A%2F%2Fnews.bitcoin.com%2Fhacker-attempts-to-sell-data-allegedly-tied-to-
     ledger-trezor-bnktothefuture-customers%2F

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 1 exploit. Our e-commerce team is currently checking these allegations by analyzing the so-called
 2 hacked [database], and so far it doesn’t match our real [database]. We continue investigations and
 3 are taking the matter seriously.” 37 Ledger did not attempt to verify the accuracy of these statements
 4 prior to making them nor did it conduct any investigation to confirm whether it suffered the data
 5 breach.
 6           115.   As Ledger admits in its July 29, 2020, announcement of the data breach, the hacker

 7 accessed the e-commerce and marketing database through an API Key. An API (application
 8 programming interface) Key allows software programs to interact, share data, and integrate
 9 functionalities. 38 APIs facilitate conversations between otherwise disconnected software—here
10 Ledger on one end and separately, the other software it interacted with on the other end. Both have
11 access to the API Key, and Ledger is an API Key owner that can use it to “monitor API activity,
12 including the types of requests and volume of requests.” 39 Ledger would be able to see the API Key
13 activity in its systems. Thus, had Ledger actually conducted a basic investigation in May 2020, it
14 would have seen the unauthorized access to the API Key. So, Ledger either did not conduct an
15 investigation, but falsely represented that it had done so, or saw the unauthorized API access and
16 intentionally chose not to disclose it promptly.
17           116.   During this time, the risks and damages to Ledger’s customers were only increasing;

18 a prompt and proper response from Ledger, including full disclosure to all customers, would have
19 mitigated those risks and damages.
20           117.   Despite the explicit references to Shopify, Ledger’s disclosures and the related press

21 raised in May 2020—and the implications for the security of Shopify’s own systems—never made
22 it to Shopify’s Data Protection Officer’s desk. That is, either Ledger improperly failed to notify
23 Ledger, the controls the Data Protection Officer was responsible for failed to give the notification
24 the attention it deserved, or both.
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     37
      @Ledger, TWITTER (May 24, 2020), https://twitter.com/Ledger/status/1264506360735174657.
27   38
      Jamie Juliver, What is an API Key? (And Are They Secure),
   https://blog.hubspot.com/website/api-keys
28 39                                        (last accessed Aug. 17, 2024).
      Id.

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1                  ii.   July 2020: Ledger Admits the Data Breach Occurred, but Downplays Its Scale

2           118.     On July 29, 2020, Ledger made partial admissions that exacerbated, rather than

3 mitigated, the harm caused by the Data Breach.
4           119.     After researchers informed Ledger of a potential data breach on its website, Ledger

5 announced that its marketing and e-commerce database had been exposed in June 2020:
6
                     What happened
7                    On the 14th of July 2020, a researcher participating in our bounty
                     program made us aware of a potential data breach on the Ledger
8                    website. We immediately fixed this breach after receiving the
                     researcher’s report and underwent an internal investigation. A week
9                    after patching the breach, we discovered it had been further exploited
                     on the 25th of June 2020, by an unauthorized third party who accessed
10                   our e-commerce and marketing database – used to send order
                     confirmations and promotional emails – consisting mostly of email
11                   addresses, but with a subset including also contact and order details
                     such as first and last name, postal address, email address and phone
12                   number. Your payment information and crypto funds are safe.

13                   To be as transparent as possible, we want to explain what happened.
                     An unauthorized third party had access to a portion of our e-
14                   commerce and marketing database through an API Key. The API key
                     has been deactivated and is no longer accessible.
15
                     What personal information was involved?
16                   Contact and order details were involved. This is mostly the email
                     address of our customers, approximately 1M addresses. Further to
17                   investigating the situation we have also been able to establish that, for
                     a subset of 9500 customers were also exposed, such as first and last
18                   name, postal address, phone number or ordered products. Due to the
                     scope of this breach and our commitment to our customers, we have
19                   decided to inform all of our customers about this situation.

20                   Those 9500 customers whose detailed personal information are
                     exposed will receive a dedicated email today to share more details.
21
                     Regarding your ecommerce data, no payment information, no
22                   credentials (passwords), were concerned by this data breach. It
                     solely affected our customers’ contact details.
23
                     This data breach has no link and no impact whatsoever with our
24                   hardware wallets nor Ledger Live security and your crypto
                     assets, which are safe and have never been in peril. You are the
25                   only one in control and able to access this information.

26
     (emphasis in original).
27
            120.     Ledger’s disclosure and responsive measures were flawed and misleading.
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 1          121.    First, as Ledger admitted, it failed to immediately warn its customers and instead

 2 waited on the results of its “internal investigation with third party experts before warning [its]
 3 community.” 40 This delay in issuing even a warning was reckless, or at least negligent.
 4          122.    Second, Ledger did not disclose that this breach had anything to do with the Shopify

 5 breaches, which involved insiders stealing information for personal profit. Ledger never even
 6 mentioned Shopify. This incomplete disclosure was reckless, or at least negligent.
 7          123.    Third, Ledger was not clear as to the status and dissemination of the stolen data.

 8 Ledger explained that “[w]e are actively monitoring for evidence of the database being sold on the
 9 internet, and have found none thus far.” Ledger also explained that they “immediately fixed this
10 breach” and were undertaking an “internal investigation,” choosing to eschew third party auditors.
11 Ledger also took pains to repeatedly reiterate to consumers that the breach had “no impact
12 whatsoever with our hardware wallets nor Ledger Live security and your crypto assets.” In other
13 words, Ledger’s message was that, after an exhaustive internal investigation, they had identified a
14 limited hack and had rectified the situation. This patently inaccurate disclosure was reckless, or at
15 least negligent.
16          124.    Fourth, Ledger sent follow-up notifications only to the 9,500 customers who they

17 determined had additional personal information exposed. In doing so, Ledger failed to notify its one
18 million other customers whose email information had been exposed. This patently incomplete
19 follow-up was reckless, or at least negligent.
20          125.    Despite the obvious references to Ledger’s marketing database (Shopify), Ledger’s

21 disclosures and the press about these issues in July 2020—and the implications for the security of
22 Shopify’s own systems—never made it to Shopify’s Data Protection Officer’s desk. That is, either:
23 (1) Ledger improperly failed to notify Shopify, (2) the controls the Data Protection Officer was
24 responsible for failed to give the notification the attention it deserved, or (3) both.
25
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27   40
     Addressing the July 2020 e-commerce and marketing data breach — A Message From Ledger’s
28 Leadership, LEDGER (July 29, 2020), https://www.ledger.com/addressing-the-july-2020-e-
   commerce-and-marketing-data-breach (last accessed Nov. 9, 2023)

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 1            H. Attacks on Ledger Users Intensify

 2                    i.   August – December 2020: Hacking Attacks Increase on Ledger Users

 3            126.      By the fall of 2020, even after Shopify had notified merchants about the breach,

 4 Ledger was still failing to respond appropriately to the severe threats that customers faced or to the
 5 damages they had incurred. Ledger still had not disclosed that its customers had any connection to
 6 the Shopify breaches. It had not contacted every customer whose email address had been exposed
 7 to hackers. It had not provided sufficient disclosures or resources to assist customers in protecting
 8 against rising phishing schemes. Ledger should have announced the Data Breach when it first
 9 learned about it – in May 2020, and yet, it instead chose to ignore credible information about the
10 data breach.
11                   ii.   Ledger Users are Bombarded with Digital Phishing Scams

12            127.      Phishing scammers use emails and text messages to trick people into disclosing

13 personal information, including but not limited to passwords, account numbers, and social security
14 numbers. Phishing scams are frequently successful, and the FBI reported that people lost
15 approximately $57 million to such scams in 2019 alone. 41
16            128.     Plaintiffs and other Ledger consumers began receiving a high-volume of phishing

17 scams/emails that were designed to look like emails sent from Ledger. Such emails are intended to
18 trick consumers into giving account information, passwords, and other valuable personal
19 information to scammers. This activity significantly increases the risk of further substantial damages
20 to Plaintiffs and the putative class, including both monetary and identity theft.
21            129.      In October 2020, for example, a Ledger user reported a phishing attempt by hackers

22 posing as Ledger Support team members and asking Ledger customers to download fake versions
23 of the Ledger Live software. The fake email looked very convincing:
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          See Federal Trade Commission. Consumer Information. “How to Recognize and Avoid
27 Phishing Scams”. May 2019. https://www.consumer.ftc.gov/articles/how-recognize-and-avoid-
28 phishing-scams. See also Federal Bureau of Investigation. “2019 Internet Crime Report Released”.
     February 11, 2020. https://www.fbi.gov/news/stories/2019-internet-crime-report-released-021120

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19          130.   Other Ledger users responded to the report by confirming that they had received and
20 been tricked by the fake email. One user reported: “Wow this looked really legit, so much so I used
21 Contact Us form to ask Ledger if it was real. I am normally pretty good at sniffing things like this
22 out – this was by far the most convincing attempt I have ever seen.” 42
23          131.   Plaintiff Seirafi also received similar phishing emails, which appeared to be from
24 Ledger:
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27   42
     Benjamin Powers, “Convincing” Phishing Attack Targets Ledger Hardware Wallet Users,
28 C OINDESK (Oct. 27, 2020), https://www.coindesk.com/phishing-attack-ledger-cryptocurrency-
   wallet (last accessed Nov. 9, 2023).

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10          132.   More phishing emails to Plaintiff Seirafi followed:

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27          133.   The hackers behind this fake email were of course armed with Ledger’s customer

28 lists and email addresses and, therefore, knew they were targeting Ledger owners. Accordingly, the

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 1 hackers invested the time and resources to create convincing—and, unfortunately, successful—
 2 fakes. Worse yet, because of Ledger’s false and misleading statements and omissions regarding the
 3 Data Breach, Ledger’s customers did not know that their email addresses had been compromised.
 4 Ledger thus deprived them of the opportunity to increase their wariness and/or take other
 5 precautions to avoid such hacking.
 6          134.    The phishing attempts were not limited to emails. Ledger users began to report the

 7 receipt of SMS/text phishing messages, again claiming to be from Ledger, such as the below:
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22          135.    Other hackers used a different phishing attempt, attempting to pose not as Ledger,
23 but as other entities such as the Stellar Development Foundation (“Stellar”), an entity affiliated with
24 the creator of the Stellar Lumen token purchased by Plaintiff Baton. Under this scheme, hackers
25 sent an extremely sophisticated email posing as Stellar and soliciting users such as Baton to “stake”
26 Stellar Lumen tokens—a well-known form of deposit that pays interest.
27          136.    These emails and websites were effective in part because they looked like Stellar’s
28 actual website, using real assets, articles, features, and other content from Stellar’s email and

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 1 website. In order to stake Lumens, a user would have to transfer the Lumens to a staking address.
 2 But the staking “address” provided to deposit the funds was not actually associated with Stellar, and
 3 once the funds were transferred, the hackers absconded with it. Critically, this phishing strategy did
 4 not require the disclosure of any private keys and increased a victim’s trust in the malicious site.
 5          137.      Creating such convincing versions of Stellar’s website and emails required a

 6 significant amount of effort, which paid off because the hackers knew they could target the emails
 7 of likely cryptocurrency holders such as Plaintiff Baton.
 8                 iii.   Sim-Swap Attacks on Ledger Users

 9          138.      The data leak can also lead to SIM-swap attacks against the Class. 43 A SIM-swap

10 attack occurs when the scammer tricks a telephone carrier to porting the victim’s phone number to
11 the scammer’s SIM card. By doing so, the attacker is able to bypass two-factor authentication
12 accounts, as are used to access cryptocurrency wallets and other important accounts. The type of
13 personal information that has been leaked poses a profound tangible risk of SIM-swap attacks for
14 the Class.
15          139.      But for Defendants’ unlawful conduct, scammers would not have accessed Plaintiffs’

16 and the putative class members’ contact information. Defendants’ unlawful conduct—including
17 active attempts to conceal the breach and minimize the extent of the breach or damages—has
18 directly and proximately resulted in widespread digital attacks against Plaintiffs and the putative
19 class.
20          140.      In response to these reports, Ledger should have devoted substantial resources and

21 taken responsibility for being the source of the leak that allowed this precision targeting from
22 hackers. Instead, Ledger continued to tout its security credentials and prevaricated about whether
23 the increased phishing and hacking attempts arose from a data breach.
24          141.      On November 2, 2020, Ledger refused to acknowledge the Data Breach was the

25 source of the rising attacks on its customers:
26                    As soon as we discovered the data breach on Ledger’s website in July

27   43
     Benjamin Powers, From SIM-Swaps to Home-Invasion Threats, Ledger Leak Has Cascading
28 Consequences, YAHOO FINANCE (Dec. 23, 2020), https://finance.yahoo.com/news/sim-swaps-
   home-invasion-threats-213016265.html (last accessed Nov. 9, 2023)

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 1                   2020, we immediately patched it. Since then, we led two penetration
                     tests with a third-party consultancy to verify and improve the security
 2                   of our clients’ data. For two weeks, some of Ledger’s customers have
                     been experiencing continuous phishing scams through various
 3                   channels, including email and SMS. We’ve issued several scam alerts
                     through our Twitter, email, and other channels to notify our users
 4                   during the past two weeks.

 5                   The internal task force is investigating these attacks, and as of now,
                     we can’t state that scammers are using Ledger’s marketing
 6                   database, and therefore, these attacks resulted from July’s data
                     breach. 44
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 8          142.     Ledger’s efforts to cover up and downplay the actual and potential scale of the Data

 9 Breach in the months leading up to its widespread public disclosure caused disastrous harm to its
10 customers. During that time, many crypto-asset investors lost massive sums of money. Had Ledger
11 acted responsibly during this period, much of that loss could have been avoided.
12                 iv.   Ledger Users Received Ransom Threats Demanding Money or Risk Physical

13                       Attack

14           143. Plaintiff Seirafi and members of the Class have also received ransom demands for

15    monetary payment to prevent physical attacks in their homes. 45 A true and correct representation

16    of a threat Plaintiff Seirafi received by text message is set forth below.

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     Supra, n. 42.
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     See COIN TELEGRAPH. “Ledger data leak: A ‘simple mistake’ exposed 270K crypto wallet
   buyers”. (December 24, 2020). https://cointelegraph.com/news/ledger-data-leak-a-simple-mistake-
27 exposed-270k-crypto-wallet-buyers; see also, SOMAG NEWS. “The threat of ‘raid home’ to a
28 Ledger user.” (December 22, 2020). https://www.somagnews.com/the-threat-of-raid-home-to-a-
   ledger-user/

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21          144.    In fact, in a Twitter statement, Ledger corroborated ransom threats like the above,

22    stating that “there has been a new wave of phishing attacks taking place since yesterday, threatening

23    our users physically.” 46

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28     TWITTER, https://twitter.com/Ledger/status/1341303521371680769?s=20 (last accessed Nov. 9,
     2023).

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 1          145.    On platforms such as Reddit.com, some class members have also reported emailed

 2    threats of home invasion if the class member fails to provide a monetary payment. 47 True and

 3    correct representations of some Reddit users’ posts regarding ransom threats they have received

 4    are set forth below.

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      REDDIT.COM, https://www.reddit.com/r/ledgerwallet/comments/kh8q82/fantastic/;
28 https://www.reddit.com/r/ledgerwallet/comments/kipk68/i_received_a_home_invasion_threat_em
   ail/ (last accessed Nov. 9, 2023).

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17          146.    Plaintiffs and many Class members’ home addresses are now public online. The

18    Class is a group of people that are especially ripe for ransom demands because the attackers are

19    aware that every member has cryptocurrency assets. This dire situation is analogous to a safe

20    company posting online the name, phone number, email address, and physical address of its

21    customers with safes most likely to contain cash, jewels, and gold bullion. With crypto-assets, the

22    customer is even more vulnerable, because the attackers can force immediate untraceable payments

23    of those assets.

24          147.    But for Defendants’ unlawful conduct, such criminals would not have access to the

25    home or other postal addresses of Plaintiffs and the Class. This access has resulted in, at minimum,

26    an invasion of Plaintiffs’ and the Class’ privacy and can lead to even greater damages, including

27    theft or violent physical attacks.

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 1                 v.   Raid of Plaintiff Seirafi’s Home as Confirmed by Local Law Enforcement

 2           148. In addition to the threat of home invasion sent by e-mail to Plaintiff Seirafi and other
 3    Class members, on February 13, 2021, the Glendale Police Department received a 911 call by an
 4    unknown male stating he had shot his friend. Police were dispatched to Plaintiff’s home, setting up
 5    a containment zone around the area Plaintiff Seirafi’s house is located. While the police determined
 6    the call to be a false alarm, Plaintiff Seirafi and Plaintiff Seirafi’s parents were frightened by this
 7    occurrence. One of the officers to whom Plaintiff Seirafi’s counsel spoke confirmed that the caller
 8    had a European accent and that the address was traced to a European IP address. Attached as
 9    Exhibit 1 is a true and correct copy of the Glendale Police Department report, No. 21-2025.
10          149.     Similarly, other Ledger consumers have expressed physical safety concerns. For
11 instance, the founder of DeFi, a company located in London, reportedly moved homes after
12 receiving physical threats, stating that “Ledger’s customer base is all over the world. In certain
13 countries the likelihood of an armed robbery could be higher. Ledger does not have the expertise to
14 tell people they are safe.” 48
15          150.    Plaintiff Seirafi’s fear, unfortunately, came to fruition with the raid to his home that
16    took place after his PII information was leaked during the breach.
17          151.     Plaintiff Deeney and his girlfriend were forced to move in or about January 2021
18    because of their fear of a home invasion targeting access to Deeney’s crypto assets. Prior to the
19    move, it was apparent that individuals were routinely intercepting mail sent to his home to mine
20    further private information about him.
21          152.     Plaintiffs and the Class remain on edge and alert as they are bombarded with phishing
22    emails and other scams.
23          153.     For instance, another Reddit user posted that they are worried about their home
24    address being leaked and their family being harmed. A true and correct representation of this user’s
25    post is set forth below.
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27   48
      Liam Roche, “Ledger customers exposed as personal data is leaked.” CITY A.M.,
28 https://www.cityam.com/ledger-customers-exposed-as-personal-data-is-leaked/ (last visited on
   March 26, 2021).

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14          154.    Another Reddit user posted a text message threat they received about getting “killed”

15    if they do not pay in cryptocurrency. A true and correct representation of this post is set forth below:

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27          155.    Another Reddit user shared his experience of receiving threats, fearing for his life

28    for the first time if he did not transfer money. This user also stated that after going to the police in


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 1    his local precinct, he learned that he was the second person who came in that day. A true and correct

 2    representation of this post is set forth below:

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15          156.     So long as Plaintiffs and the Class members’ PII is accessible on the internet,

16    Plaintiffs and the Class will remain at substantial risk. Ledger has not offered any solutions to

17    remedy the damages to Plaintiffs and the Class. Plaintiffs and the Class members will remain at

18    permanent risk unless they take on the significant time and expense to change all of their personal

19    information that was exposed.

20          157.     Because of Defendants’ unlawful conduct, Plaintiffs and the Class are in constant

21    fear and anxiety resulting from the leak of their PII and consistent barrage of scams and threats.

22                 vi.   December 2020: In the Face of Widespread Public Disclosure, Ledger Admits

23                       to the Scale of the Data Breach

24          158.     By early December 2020, reports continued to escalate about phishing attempts on

25 Ledger’s users. By that time, Ledger’s inaction had provided an opportunity for the hackers to
26 increase the sophistication and effectiveness of phishing attempts. For example, some of the
27 phishing attempts referenced breaches and then instructed users, as a security measure, to install
28 fake versions of Ledger Live that asked for their private key information:

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26          159.    Users reported losing significant sums of crypto-assets as a result of such phishing.
27 Plaintiff Baton lost about 150,000 Stellar Lumens, worth approximately $72,000 at today’s market
28 prices. Plaintiff Comilla lost all his crypto assets due to a successful phishing attack, 2.6 bitcoin and

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 1 8 ether, worth about $115,000 at today’s market prices. Plaintiff Vilinger also lost all his crypto
 2 assets after the breach, 6.4 bitcoin worth about $225,000 at today’s market prices, even though he
 3 only connected this Ledger product to the Internet every few months. On information and belief, he
 4 was the victim of de-anonymization of his Ledger wallet as set forth above. Plaintiff Deeney lost
 5 $145,000 when account manipulation caused by the data breach caused one of his trading accounts
 6 to be temporarily frozen, preventing him from closing out a short position on XRP.
 7          160.   The phishing attempts were sufficiently successful—and notorious—so that, through

 8 December 20, 2020, the going rate among hackers for the compromised list of Ledger customer data
 9 was approximately $100,000. 49
10          161.   On December 20, 2020, a hacker published the Ledger customer data online. This

11 publication included the personal information of more than 270,000 Ledger customers. In fact, the
12 contents of the Ledger database were distributed on Raidforums. Raidforums is a database sharing
13 and marketing forum that distributes leaked information online. This leak of 272,000 pieces of
14 detailed PII of consumers is significantly greater than he amount of data estimated by Ledger – of
15 9,500, an estimate reported by Ledger in July 2020.
16          162.   Consumers and reporters justly criticized Ledger, stating that the company, in its

17 prior statements, had “vastly underestimated” the Data Breach. 50
18          163.   With the data made publicly available for free, many Ledger customers started

19 receiving frightening threats. Ledger customers immediately started receiving spam phone calls,
20 emails, and even death threats. Many of these customers shared their experiences online:
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26   49
      @UnderTheBreach, TWITTER (Dec. 20, 2020,),
   https://twitter.com/UnderTheBreach/status/1340735356375851009.
27 50 Vishal Chawla, Liam Kelly, Ledger Breach Vastly Underestimated, 270,000 Clients Data
28 Leaked, CRYPTO BRIEFING (Dec. 21, 2020), https://cryptobriefing.com/ledger-breach-clients-data-
   leaked/ (last accessed Nov. 9, 2023).

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13          164.   Scammers continue to harass Ledger wallet users, sending counterfeit hardware
14 wallets to Ledger users home addresses. Security researcher Mike Grover investigated the device,
15 which appears to be “a simple flash driver strapped on to the Ledger with the purpose [. . .] of
16 malware delivery.” 51 The shipments of counterfeit wallets are accompanied with a letter purportedly
17 signed by Ledger’s CEO, claiming to have sent an updated devices for security purposes following
18 the cyberattack.
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     Inside The Scam: Victims Of Ledger Hack Are Receiving Fake Hardware Wallets, NASDAQ
28 (June 17, 2021), https://www.nasdaq.com/articles/inside-the-scam:-victims-of-ledger-hack-are-
   receiving-fake-hardware-wallets-2021-06-17 (last accessed Nov 9, 2023).

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21          165.    Plaintiffs Seirafi, Batton, Comilla, Deeney, and Vilinger like many members of the

22 Class, also received spam emails, phone calls, and texts which, inter alia, attempted to phish for
23 additional personal information and sell prurient content. Plaintiffs’ PII is now available for other
24 parties to sell and trade, and they continue to risk receiving more harm for the indefinite future. In
25 fact, the U.S. Government Accountability Office found that, “once stolen data have been sold or
26 posted on the Web, fraudulent use of that information may continue for years.” 52
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28     Report to Congressional Requester, UNITED STATES GOVERNMENT ACCOUNTABILITY OFFICE
     (June 2007), https://www.gao.gov/new.items/d07737.pdf (last accessed Nov. 9, 2023).

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 1          166.    The breach has also exposed the location of the purchased Products, by allowing

 2 access to Plaintiff and the Class’ home addresses, which inherently impacts the security of the
 3 Products and, in turn, creates actual harm and a threat of future harm.
 4          167.    Ledger’s CEO, Pascal Gauthier, has refused to provide compensation to users whose

 5 PII information was leaked in the breach arguing that “It’s just an online scam to scare you with
 6 these tactics.” 53
 7          168.    Ledger knew of and advertised the importance of protecting its customers’ personal

 8 information, but before and after the Data Breach, it failed to take reasonable steps to protect its
 9 customers. Before the breach, Ledger should have regularly deleted or archived customer data or
10 should have otherwise protected that information from online accessibility. After the breach, for
11 over five months, Ledger repeatedly failed to provide critical information to its customers,
12 compounding the harm to Plaintiffs and the Class.
13              vii.    TaskUs Should Have Increased Data Security, and Defendants Should Have

14                      Known Their Customers’ Data Would Be a Target for Cyberattacks.

15          169.    In the years immediately preceding the Data Breach, Defendants knew or should

16 have known that its computer systems were a target for cybersecurity attacks.
17          170.    For example, in April 2020, ZDNET reported that “[r]ansomware gangs are now

18 ferociously aggressive in their pursuit of big companies. They breach networks, use specialized tools
19 to maximize damage, leak corporate information on dark web portals, and even tip journalists to
20 generate negative news for companies as revenge against those who refuse to pay.” 54
21          171.    Thousands of similar articles, warnings, White Papers, studies, and reports on data

22 security for businesses have publicized the increasing threat of data breaches to companies of all
23 sizes.
24
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     53
      Ledger Won’t Reimburse Users After Major Data Hack, DECRYPT (Dec. 21, 2020),
26 https://decrypt.co/52215/ledger-wont-reimburse-users-after-major-data-hack (last accessed Nov. 9,
   2023).
27 54 Catalin Cimpanu, Ransomware mentioned in 1,000+ SEC filings over the past year (Apr. 30,
28 2020), available at https://www.zdnet.com/article/ransomware-mentioned-in-1000-sec-filings-
   over-the-past-year/ (last accessed May 19, 2023).

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 1          172.   The FBI, FTC, GAO, U.S. Secret Service, United States Cybersecurity and

 2 Infrastructure Security Agency, State Attorney General Offices and many other government and law
 3 enforcement agencies, and hundreds of private cybersecurity and threat intelligence firms, have
 4 issued warnings that put Defendants on notice, long before the Data Breach, that (1) cybercriminals
 5 were targeting large, public companies such as Defendants Ledger and Shopify; (2) cybercriminals
 6 were ferociously aggressive in their pursuit of large collections of PII like that in possession of
 7 Defendants; (3) cybercriminals were selling large volumes of PII and corporate information on Dark
 8 Web portals; and (4) the threats were increasing.
 9          173.   Had Defendants been diligent and responsible, they would have known about and

10 acted upon warnings published in 2017 that 93% of data security breaches were avoidable and the
11 key avoidable causes for data security incidents are:
12                 •   Lack of a complete risk assessment, including internal, third-party, and cloud-
                       based systems and services;
13                 •   Not promptly patching known/public vulnerabilities, and not having a way to
                       process vulnerability reports;
14
                   •   Misconfigured devices/servers;
15                 •   Unencrypted data and/or poor encryption key management and safeguarding;
                   •   Use of end-of-life (and thereby unsupported) devices, operating systems, and
16                     applications;
17                 •   Employee errors and accidental disclosures — lost data, files, drives, devices,
                       computers, improper disposal;
18                 •   Failure to block malicious email; and
                   •   Users succumbing to business email compromise (BEC) and social exploits. 55
19
20          174.   Defendants knew, or should have known, that the PII of individuals is highly valuable

21 to criminals, selling at $40 to $200 for names, addresses, credit histories, and phone numbers. 56
22 Experian publishes selling prices for individual items of PII and reported that stolen credit card or
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25    Gretel Egan, OTA Report Indicates 93% of Security Breaches Are Preventable, PROOFPOINT
   (Feb. 7, 2018), available at https://www.proofpoint.com/us/security-awareness/post/ota-report-
26 indicates-93-security-breaches-are-preventable (last accessed May 19, 2023).
   56
      Anita George, Your personal data is for sale on the dark web. Here’s how much it costs,
27 DIGITAL TRENDS (Oct. 16, 2019), available at
28 https://www.digitaltrends.com/computing/personal-data-sold-on-the-dark-web-how-much-it-costs/
   (last accessed May 19, 2023).

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 1 debit card numbers can sell for $5 to $10 apiece on the Dark Web. 57 TECHREPUBLIC reported in
 2 2021 that the average price for PII in the U.S. was $8, but there could be a wide range of values for
 3 data packages with multiple pieces of data for each individual, such as that stolen from
 4 Defendants. 58
 5          175.    In light of the information and warnings readily available to Defendants before the

 6 Data Breach, Defendants had reason to be on guard and to increase data security to avoid an attack.
 7          176.    Prior to the Data Breach, Defendants knew or should have known that there was a

 8 foreseeable risk that Plaintiffs’ and Class Members’ PII could be accessed, exfiltrated and published
 9 as the result of a cyberattack.
10          177.    Prior to the Data Breach, Defendants knew or should have known that it should

11 encrypt the sensitive data elements within the PII it collected so that it would be protected against
12 publication and misuse in the event of a data breach.
13          178.    Data security experts advise that “the vast majority of data breaches are preventable”

14 if companies follow widely-available advice on data security practices, including “continually
15 audit[ing] and reevaluat[ing]” their data security practices; being aware of and working proactively
16 to counter cybercriminals’ evolving techniques and approaches; and training and re-training their
17 employees. 59 Upon information and belief, Defendants did not follow this advice.
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21   57
        Brian Stack, Here’s How Much Your Personal Information Is Selling for on the Dark Web,
22   EXPERIAN CYBERSECURITY (Dec. 6, 2017), available at https://www.experian.com/blogs/ask-
     experian/heres-how-much-your-personal-information-is-selling-for-on-the-dark-web/ (last
23   accessed May 19, 2023).
     58
        Jonathan Greig, How much is your info worth on the Dark Web? For Americans, it’s just $8,
24
     TECHREPUBLIC (Feb. 8, 2021), available at https://www.techrepublic.com/article/how-much-is-
25   your-info-worth-on-the-dark-web-for-americans-its-just-
     8/#:~:text=Personal%20information%20from%20US%20citizens,from%20tech%20research%20fi
26   rm%20Comparitech. (last accessed May 19, 2023).
     59
        Nate Nead, How To Prevent A Data Breach In Your Company, FORBES BUSINESS COUNSEL,
27   FORBES (Jul. 30, 2021) available at
28   https://www.forbes.com/sites/forbesbusinesscouncil/2021/07/30/how-to-prevent-a-data-breach-in-
     your-company/?sh=3828f7b918da (last accessed May 19, 2023).

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 1          I. Plaintiffs Suffered Damages

 2          179.    Plaintiffs Seirafi, Baton, Comilla, Deeney, and Vilinger and the Class have suffered

 3 damages as a result of the Data Breach. These injuries include, but are not limited to: (i) lost value
 4 of PII, a form of property that Ledger obtained from Plaintiffs and Class Members; (ii) out-of-pocket
 5 expenses associated with preventing, detecting, and remediating identity theft, social engineering,
 6 and other unauthorized use of their PII; (iii) opportunity costs associated with attempting to mitigate
 7 the actual consequences of the Data Breach, including but not limited to lost time; (iv) the continued,
 8 long term, and certain increased risk that unauthorized persons will access and abuse Plaintiffs’ and
 9 Class Members’ unencrypted PII that is available on the dark web; (v) the continued and certain
10 increased risk that the PII that remains in Defendants’ possession is subject to further unauthorized
11 disclosure for so long as Defendants fails to undertake proper measures to protect the PII; (v)
12 invasion of privacy and increased risk to personal safety; (vi) theft of their PII and the resulting loss
13 of privacy rights in that information; and (vii) the price premium associated with the purchase of
14 Ledger wallets for the California Consumer Subclass.
15          180.    As a direct and proximate result of the Data Breach and Defendants’ failure to protect

16 their PII, Plaintiffs and Class Members have been injured by facing ongoing, imminent, impending
17 threats of identity theft crimes, fraud, scams, social engineering, and other misuses of their PII, as
18 well as an increased risk to their personal safety; ongoing monetary loss and economic harm,
19 including loss of value of their PII; loss of value of privacy and confidentiality of the stolen PII;
20 illegal sales of the compromised PII; mitigation expenses and time spent on credit monitoring;
21 identity theft insurance costs; credit freezes/unfreezes; expense and time spent on initiating fraud
22 alerts and contacting third parties; decreased credit scores; lost work time; and other injuries.
23 Plaintiffs and Class Members have a continuing interest in ensuring that their personal information
24 is and remains safe, and they should be entitled to injunctive and other equitable relief.
25          181.    Plaintiff Seirafi has received several spam messages since his email was leaked and

26 his home was raided. Plaintiff Vilinger has received a huge amount of phishing and other scam
27 emails, and his home was targeted in an attempted break-in. Plaintiff Baton had his email, physical
28 address, and phone number compromised. He received regular spam calls, still receives spam

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 1 emails, and had to change his phone number and where he receives packages—all as a result of this
 2 breach. The other Plaintiff suffered similar experiences.
 3          182.    If Ledger had timely disclosed the extent of the Data Breach, some Plaintiffs—

 4 sophisticated users with technology backgrounds and wary of scams—would have been on
 5 heightened alert and not fallen prey to these scams. Furthermore, others who may not have been as
 6 sophisticated in technology could also take steps to protect their privacy rights.
 7          183.    This breach has also exposed the location of the purchased Ledger products, by

 8 allowing access to Plaintiffs’ and consumers’ home addresses, which inherently impacts the security
 9 of the products themselves and creates actual harm and a threat of future harm.
10          184.    Some Plaintiffs remain fearful of intruders due to their physical address being

11 publicly leaked.
12          185.    These leaks of personal information, in conjunction with the information that they

13 were Ledger customers, have exposed Plaintiffs to additional risks of theft and threat.
14          186.    In addition, Plaintiff Seirafi and members of the California Consumer Subclass

15 would not have purchased Ledger’s products at all, or would have paid significantly less for them,
16 had they known of Ledger’s lax security practices, unwillingness to promptly and completely
17 disclose data breaches, and failure to provide timely customer service. Furthermore, had they known
18 of Ledger’s lax security practices, unhelpful customer service, and failure to report of the extent of
19 the breach and other issues, they would not have provided any valuable PII to Ledger or stored any
20 bitcoins or other forms of digital currency in Ledger wallets.
21    V.    CLASS ALLEGATIONS

22          187.    Plaintiffs bring this Action as a class action pursuant to Fed. R. Civ. P. 23 and seek

23 certification of the following Class and Subclasses:
24                  Nationwide, UK, and Israel Class: All persons residing in the United States,
                    the UK, or Israel who provided Shopify with personal information that was
25                  accessed, compromised, stolen, or exposed in a data breach between April 1,
                    2020, and the present.
26
                    Nationwide, UK, and Israel Phishing Subclass: All persons in the
27                  Nationwide, U.K. and Israel Class who suffered monetary damages in
                    connection with a phishing or threatening communication by a third-party
28                  possessing those persons’ personal information disclosed as a result of a data


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 1                  breach between April 1, 2020, and the present.

 2                  California Subclass: All persons residing in California who provided Ledger
                    or Shopify with personal information that was accessed, compromised,
 3                  stolen, or exposed in a data breach between April 1, 2020, and the present.

 4                  California Consumer Subclass: All persons residing in California who
                    purchased a Ledger Nano X wallet or a Ledger Nano S wallet from Ledger
 5                  or an authorized reseller within the limitations period, as may be extended or
                    tolled by any applicable rule of law or equitable doctrine, prior to December
 6                  21, 2020.

 7                  New York Subclass: All persons residing in New York who provided Shopify
                    with personal information that was accessed, compromised, stolen, or
 8                  exposed in a data breach between April 1, 2020, and the present.

 9                  New York Phishing Subclass: All persons in the New York Subclass who
                    suffered monetary damages in connection with a phishing or threatening
10                  communication by a third-party possessing those persons’ personal
                    information disclosed as a result of a data breach between April 1, 2020, and
11                  the present.

12
13           Accordingly, the Class Period is April 1, 2020, through the present except as to the

14 Consumer Classes.
15           188.   Excluded from the Class and Subclasses are Defendants, their officers and directors,

16 and members of their immediate families or their legal representatives, heirs, successors or assigns
17 and any entity in which Defendants have or had a controlling interest.
18           189.   Plaintiffs reserve the right to amend the Class and/or Subclass definitions if

19 investigation or discovery indicate that the definition should be narrowed, expanded, or otherwise
20 modified.
21           190.   Numerosity. The Class and Subclass members are so numerous that joinder of all

22 members is impracticable. The precise number of Class and Subclass members is unknown to
23 Plaintiffs at this time, but it is believed to be in the tens of thousands.
24           191.   Ascertainability. The Class and Subclass members are readily ascertainable and

25 identifiable. They may be identified through contact information that was breached. They may be
26 notified of the pendency of this Action by electronic mail using a form of notice customarily used
27 in class actions.
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1          192.    Typicality. Plaintiffs’ claims are typical of the claims of the Class and Subclass

2 members, who are similarly affected by Defendants’ respective wrongful conduct in violation of the
3 laws complained of herein. Plaintiffs do not have any interest that is in conflict with the interests of
4 the Class members.
5          193.    Commonality. Plaintiffs and the Class and Subclass members sustained damages

6 and/or are entitled to restitution from data exposure caused by Defendants’ unlawful conduct and/or
7 for the diminution in value of the products they purchased revealed by Defendants’ uniform and
8 unlawful conduct. Common questions of law and fact include the following:
9
                   •   Whether Defendants’ conduct is an unlawful business act or practices within
10                     the meaning of Business and Professions Code section 17200, et seq.;
11                 •   Whether Defendants’ conduct is an unfair business act or practice within the
12                     meaning of Business and Professions Code section 17200, et seq.;

13                 •   Whether Defendants’ advertising is untrue or misleading within the meaning
                       of Business and Professions Code section 17500, et seq.;
14
15                 •   Whether Defendants’ represented to Plaintiffs and the Class that they would
                       protect Plaintiffs and the Class members’ PII;
16
                   •   Whether Defendants’ owed a duty to Plaintiffs and the Class to exercise due
17                     care in collecting, storing, and safeguarding their PII;
18
                   •   Whether Defendants’ breached a duty to Plaintiffs and the Class to exercise
19                     due care in collecting, storing, and safeguarding their PII;

20                 •   Whether Class members’ PII was accessed, compromised, or stolen in the
                       breach;
21
22                 •   Whether Defendants’ conduct caused or resulted in damages to Plaintiffs and
                       the Class;
23
                   •   Whether Defendants failed to notify the public of the breach in a timely and
24                     adequate manner;
25
                   •   Whether Defendants knew or should have known that its systems were
26                     vulnerable to a data breach;

27                 •   Whether Defendants adequately addressed the vulnerabilities that allowed for
                       the data breach;
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 1                  •   Whether the precautions that Defendants took and failed to take with respect
                        to the protection of the Class members’ data;
 2
 3                  • Whether the steps Defendants took and failed to take after learning of the
                        Data Breach and the reasonableness (or rather unreasonableness) of those
 4                      steps;

 5                  •   The economic value of Ledger’s wallets and services as advertised;
 6
                    •   The actual economic value of Ledger’s wallets and services where, contrary
 7                      to its advertising, Ledger failed to protect customers’ personal information
                        from nefarious actors;
 8
                    •   The quantification of the harm to Class members resulting from the exposure
 9                      of their data to prospective hacking; and
10
                    •   The restitution and/or damages to which Class members are entitled as result
11                      of the fact that the actual value of the Ledger wallets was far less than the
                        value of the wallets as advertised.
12
13          194.    Superiority. A class action is superior to all other available methods for the fair and

14 efficient adjudication of this controversy since joinder of all members is impracticable.
15 Furthermore, as the damages suffered by some of the individual Class and Subclass members may
16 be relatively small, the expense and burden of individual litigation makes it impossible for Class
17 and Subclass members to individually redress the wrongs done to them. Furthermore, litigating tens
18 of thousands of individual cases will inevitably lead to inconsistent rulings and results, burden the
19 judicial and legal system, and magnify the delay and expense to all the parties and the court system
20 because of multiple trials on the same factual and legal issues.
21          195.    There will be no difficulty in the management of this Action as a class action.

22          196.    Furthermore, Defendants have acted or refused to act on grounds generally

23 applicable to the Classes and Subclasses and, as such, final injunctive relief, or restitutionary relief
24 with regard to the class members as a whole is appropriate pursuant to Fed. R. Civ. Proc. Rule
25 23(b)(2).
26 ///
27 ///
28 ///

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 1                                     FIRST CAUSE OF ACTION

 2                                            NEGLIGENCE

 3   (On Behalf of Plaintiffs, the Nationwide, UK, and Israel Class, and the Nationwide, UK, and

 4     Israel Phishing Subclass and, Alternatively, on Behalf of the Remaining Non-Consumer

 5                                              Subclasses)

 6                                     (Against Defendant TaskUs)

 7          197.    Plaintiffs incorporate the preceding paragraphs.

 8          198.    TaskUs owed a duty to the Class members, including Plaintiffs, to exercise

 9 reasonable care in obtaining, retaining, securing, safeguarding, deleting, and protecting their
10 personal information in their possession from being compromised, lost, or stolen, and from being
11 accessed, and misused by unauthorized persons.
12          199.    This duty included: (a) designing, maintaining, and testing TaskUs’s security

13 systems to ensure that the Class members’ personal information was adequately secured and
14 protected; (b) implementing processes that would timely detect a breach of their security systems;
15 (c) timely acting upon warnings and alerts, including those generated by their own security systems,
16 regarding intrusions to their networks; (d) maintaining data-security measures consistent with
17 industry standards; and (e) timely and comprehensively notifying Class members of any potential
18 or actual unauthorized access of their personal information.
19          200.    TaskUs’s duties to use reasonable care, including vendor oversight, arose from

20 several sources, including those described below. TaskUs had a common law duty to prevent
21 foreseeable harm to others, including Class members, who were the foreseeable and probable
22 victims of any inadequate security practices. TaskUs in fact knew that their failure to protect Class
23 members’ personal information would likely harm Class members, because they knew that hackers
24 routinely attempt to steal such information and use it for nefarious purposes.
25          201.    TaskUs’s duties also arose under Section 5 of the FTCA, 15 U.S.C. § 45, which

26 prohibits “unfair . . . practices in or affecting commerce,” including, as interpreted and enforced by
27 the FTC, failing to use reasonable measures to protect personal information by companies such as
28 Ledger. Various FTC publications and data security breach orders further form the basis of TaskUs’s

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 1 duties. In addition, individual states have enacted statutes based upon the FTC Act that also created
 2 a duty.
 3           202.   TaskUs also had duties to safeguard the personal information of the Class members

 4 and to promptly notify them of a breach because of state laws and statutes that require Ledger to
 5 reasonably safeguard sensitive personal information. Timely notification was necessary to permit
 6 Class members to take appropriate measures to protect their identities as owners of crypto-assets,
 7 safeguard against threats to those crypto-assets, safeguard against personal threats, and take other
 8 steps to mitigate or ameliorate the damages caused by Ledger’s misconduct.
 9           203.   TaskUs breached it duties to the Class members and thus was negligent. TaskUs

10 breached these duties by, among other things, failing to: (a) exercise reasonable care and implement
11 adequate security systems, protocols, and practices sufficient to protect the personal information of
12 the Class members; (b) detect the breaches while they were ongoing; (c) maintain security systems
13 consistent with industry standards; and (d) disclose that the Class members’ personal information
14 in Ledger’s and/or Shopify’s possession had been or was reasonably believed to have been stolen
15 or compromised.
16           204.   TaskUs’s negligence was, at least, a substantial factor in causing the Class members’

17 personal information to be improperly accessed, disclosed, and otherwise compromised, and in
18 causing the Class members’ other injuries as a result of the data breaches.
19           205.   As a direct and proximate result of TaskUs’s negligence, the Class members are

20 entitled to damages, including compensatory, punitive, and nominal damages, in an amount to be
21 proven at trial, for injuries that include at least the following:
22              a. the theft of their personal information;

23              b. the diminished value and loss of the benefits of purchased Ledger devices, which

24                  now pose a security risk to the Class members;

25              c. the costs associated with the detection and prevention of phishing scams aimed at

26                  depriving the Class members of assets and funds;

27              d. the costs associated with purchasing new hardware and software to protect crypto

28                  assets and/or other assets and/or funds;


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 1              e. the costs associated with time spent and the loss of productivity from taking time to

 2                  address and attempt to ameliorate, mitigate, and deal with the actual and future

 3                  consequences of the data breaches;

 4              f. the imminent and impending injury flowing from potential fraud and theft posed by

 5                  their personal information being placed in the hands of criminals;

 6              g. the damages to and diminution in value of their personal information entrusted,

 7                  directly or indirectly, Shopify, and TaskUs with the mutual understanding that the

 8                  Class members’ data would be safeguarded against theft and not allow access and

 9                  misuse of their data by others; and

10              h. the continued risk of exposure to hackers and thieves of their personal information,

11                  which remains in Ledger’s possession and is subject to further breaches so long as

12                  Shopify and TaskUs fails to undertake appropriate and adequate measures to protect

13                  the Class members.

14                                    SECOND CAUSE OF ACTION

15                   DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF

16   (On Behalf of Plaintiffs, the Nationwide, UK, and Israel Class, and the Nationwide, UK, and

17      Israel Phishing Subclass and, Alternatively, on Behalf of the Remaining Non-Consumer

18                                               Subclasses)

19                                      (Against Defendant TaskUs)

20          206.    Plaintiffs incorporate the preceding paragraphs.

21          207.    Under the Declaratory Judgment Act, 28 U.S.C. § 2201, et seq., this Court is

22 authorized to enter a judgment declaring the rights and legal relations of the parties and grant further
23 necessary relief. The Court also has broad authority to restrain acts, such as here, that are tortious
24 and violate the terms of the federal and state statutes described in this Complaint.
25          208.    An actual controversy has arisen in the wake of the Data Breach regarding TaskUs’s

26 present and prospective duties to reasonably safeguard customers’ and consumers’ personal
27 information and whether TaskUs is maintaining data-security measures adequate to protect the Class
28

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 1 members, including Plaintiffs, from further data breaches that compromise their personal
 2 information.
 3          209.    Plaintiffs allege that TaskUs’s data-security measures remain inadequate. TaskUs

 4 denies these allegations. In addition, Plaintiffs continue to suffer injury as a result of the compromise
 5 of their personal information and remain at imminent risk that further compromises of their personal
 6 information will occur in the future.
 7          210.    Pursuant to its authority under the Declaratory Judgment Act, Plaintiffs ask the Court

 8 to enter a judgment declaring, among other things, the following:
 9             i.   TaskUs owes a duty to secure consumers’ personal information and to timely notify

10                  consumers of a data breach under the common law, Section 5 of the FTC Act, and

11                  various state statutes; and

12            ii.   TaskUs is in breach of its legal duties by failing to employ reasonable measures to

13                  secure consumers’ personal information.

14          211.    Plaintiffs further ask the Court to issue corresponding prospective injunctive relief

15 requiring TaskUs to employ adequate security protocols consistent with law and industry standards
16 to protect consumers’ personal information.
17          212.    If an injunction is not issued, the Class members will suffer irreparable injury, and

18 lack an adequate legal remedy, in the event of another data breach at TaskUs. The risk of another
19 such breach is real, immediate, and substantial. If another breach at TaskUs occurs, the Class
20 members will not have an adequate remedy at law because many of the resulting injuries are not
21 readily quantified and they will be forced to bring multiple lawsuits to rectify the same conduct.
22          213.    The hardship to the Class members if an injunction is not issued exceeds the hardship

23 to TaskUs if an injunction is issued. Among other things, if another massive data breach occurs at
24 TaskUs, the Class members will likely be subjected to substantial hacking attempts, physical threats,
25 and other damage. On the other hand, the cost to TaskUs of complying with an injunction by
26 employing reasonable prospective data security measures is relatively minimal, and TaskUs has pre-
27 existing legal obligations to employ such measures.
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 1          214.   Issuance of the requested injunction will not disserve the public interest. To the

 2 contrary, such an injunction would benefit the public by preventing additional data breaches at
 3 TaskUs, thus eliminating the additional injuries that would result to the Class members and the
 4 millions of consumers whose personal and confidential information would be further compromised.
 5                                    THIRD CAUSE OF ACTION

 6                          CALIFORNIA UNFAIR COMPETITION LAW

 7                                   Cal. Bus. & Prof. Code § 17200, et seq.

 8                  (On Behalf of Plaintiff Seirafi and the California Consumer Subclass)

 9                                     (Against Defendant Ledger Only)

10          215.   Plaintiff Seirafi incorporates the preceding paragraphs.

11          216.   Ledger is a “person” as defined by Cal. Bus. & Prof. Code § 17201.

12          217.   California’s Unfair Competition Law (the “UCL”) prohibits “unfair competition,”

13 which Ledger violated by engaging in unlawful, unfair, and deceptive business acts and practices.
14                                       a.      “Unfair” Prong

15          218.   Under California’s False Advertising Law, Cal. Bus. & Prof. Code Section 17200, et

16 seq., a challenged activity is “unfair” when “any injury it causes outweighs any benefits provide to
17 consumers and the injury is one that the consumers themselves could not reasonably avoid.”
18 Camacho v. Auto Club of Southern California, 142 Cal. App. 4th 1394, 1403 (2006).
19          219.   Ledger’s conduct as alleged herein does not confer any benefit to consumers.

20          220.   Ledger’s conduct as alleged herein causes injuries to consumers, who do not receive

21 a product consistent with their reasonable expectations.
22          221.   Ledger’s conduct as alleged herein causes injuries to consumers, who paid for a

23 secure system and whose PII was leaked as a result of Ledger’s unlawful conduct.
24          222.   The injuries caused by Ledger’s conduct as alleged herein outweigh any benefits.

25          223.   Ledger’s conduct, as alleged in the preceding paragraphs, is false, deceptive,

26 misleading, and unreasonable and constitutes an unfair business practice within the meaning of
27 California Business and Professions Code Section 17200.
28

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 1          224.    Ledger could have furthered its legitimate business interests in ways other than by

 2 unfair conduct.
 3          225.    Ledger’s conduct threatens consumers by misleadingly advertising their systems as

 4 “secure” and exposing consumers’ PII to hackers. Ledger’s conduct also threatens other companies,
 5 large and small, who play by the rules. Ledger’s conduct stifles competition and has a negative
 6 impact on the marketplace and reduces consumer choice.
 7          226.    All of the conduct alleged herein occurs and continues to occur in Ledger’s business.

 8 Ledger’s wrongful conduct is part of a pattern or generalized course of conduct repeated on
 9 approximately thousands of occasions daily.
10          227.    Pursuant to Business and Professions Code Sections 17203, Plaintiff Seirafi and the

11 California Consumer Subclass seek an order of this Court enjoining Ledger from continuing to
12 engage, use, or employ its unfair business practices.
13          228.    In fact, to date, Ledger continues to market and advertise its faulty products and

14 systems to consumers, while knowing that it failed and continues to fail to deliver on its promises –
15 of providing a secure system and products.
16          229.    Ledger failed to implement and maintain reasonable security measures to protect

17 Plaintiff Seirafi and the California Consumer Subclass members’ personal information from
18 unauthorized disclosure, release, data breaches, and theft, which was a direct and proximate cause
19 of the Data Breach. Ledger failed to identify foreseeable security risks, remediate identified security
20 risks, and adequately improve security following previous cybersecurity incidents. This conduct,
21 with little if any utility, is unfair when weighed against the harm to Plaintiff Seirafi and the
22 California Consumer members whose personal information has been compromised.
23          230.    Ledger’s failures to implement and maintain reasonable security measures also were

24 contrary to legislatively declared public policy that seeks to protect consumers’ data and ensure that
25 entities that are trusted with it use appropriate security measures.
26          231.    Ledger’s failures to implement and maintain reasonable security measures also led

27 to substantial consumer injuries, as described above, that are not outweighed by any countervailing
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 1 benefits to consumers or competition. Moreover, because consumers could not know of Ledger’s
 2 inadequate security, consumers could not have reasonably avoided the harms that Ledger caused.
 3          232.    Plaintiff Seirafi and the California Consumer Subclass members have suffered

 4 injury-in-fact and have lost money or property as a result of Defendants’ unfair conduct. Among
 5 other things, Plaintiff Seirafi and the California Consumer Subclass members paid an unwarranted
 6 premium for these Products, which they would not have purchased had they known that Ledger has
 7 not adhered to the security measures it claimed it would. Specifically, Plaintiff Seirafi and the
 8 California Consumer Subclass members paid for products and services advertised as secure when
 9 Ledger in fact failed to institute adequate security measures and neglected vulnerabilities that led to
10 a data breach. Plaintiff Seirafi and the California Consumer Subclass members would not have
11 purchased the Products and services, or would not have given Ledger their PII, had they known that
12 their PII was vulnerable to a data breach. Likewise, Plaintiff Seirafi and the California Consumer
13 Subclass seek an order mandating that Ledger implement adequate security practices to protect
14 consumers’ PII. Additionally, Plaintiff Seirafi and the California Consumer Subclass seek and
15 request an order awarding Plaintiff Seirafi and the California Consumer Subclass restitution of the
16 money wrongfully acquired by Ledger by means of Ledger’s unfair and unlawful practices.
17                                       b.      “Unlawful” Prong

18          233.    California Business and Professions Code Section 17200, et seq., identifies

19 violations of any state or federal law as “unlawful practices that the unfair competition law makes
20 independently actionable.” Velazquez v. GMAC Mortg. Corp., 605 F. Supp. 2d 1049, 1068 (C.D.
21 Cal. 2008).
22          234.    Ledger’s unlawful conduct, as alleged in the preceding paragraphs, violates

23 California Civil Code Section 1750, et seq.
24          235.    Ledger’s conduct, as alleged in the preceding paragraphs, is false, deceptive,

25 misleading, and unreasonable and constitutes unlawful conduct.
26          236.    Ledger knew or should have known of its unlawful conduct.

27          237.    In fact, Ledger’s failure to implement and maintain reasonable security measures to

28 protect Plaintiff Seirafi and the California Consumer Subclass members’ personal information from

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 1 unauthorized disclosure, and identify foreseeable security risks, or even remedy/improve the
 2 security risks, were a direct and proximate cause of the Data Breach.
 3             238.   Ledger’s failures to implement and maintain reasonable security measures also were

 4 contrary to legislatively declared public policy that seeks to protect consumers’ data and ensure that
 5 entities that are trusted with it use appropriate security measures. These policies are reflected in
 6 laws, including the FTC Act, 15 U.S.C. § 45, and California’s Consumer Records Act, Cal. Civ.
 7 Code § 1798.81.5.
 8             239.   Ledger has engaged in “unlawful” business practices by violating multiple laws,

 9 including California’s Consumer Records Act, Cal. Civ. Code §§ 1798.81.5 (requiring reasonable
10 data security measures) and 1798.82 (requiring timely breach notification); California’s Consumers
11 Legal Remedies Act, Cal. Civ. Code § 1780, et seq.; the FTC Act, 15 U.S.C. § 45; and California
12 common law.
13                                       c.      “Fraudulent” Prong

14             240.   Ledger’s various representations and omissions, including but not limited to its

15 statements of Ledger’s security implementations, and assurances regarding trustworthiness and
16 reliability of measurements implemented by Ledger constitute false, misleading, and deceptive
17 statements intended to deceive the consumers within the meaning of §17200.
18             241.   The misrepresentations and omissions actionable under this claim relate not to the

19 Ledger wallets themselves but rather to Ledger’s claimed security practices surrounding the wallets,
20 namely its handling of sensitive purchaser information consumers had to provide to obtain and use
21 the wallets. Among other things, Ledger represented that “[w]e are a unique digital security
22 ecosystem that provides protection and is built upon verifiable trust across our people, hardware,
23 and software” and that Ledger “continuously look[s] for vulnerabilities on Ledger products as well
24 as our providers’ products in an effort to analyze and improve the security Plaintiff Seirafi relied on
25 Ledger’s data security representations such as this. For example, Ledger advertised the Ledger Nano
26 X as able to keep “your data [] safe everywhere you go.” 60
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28   60
          Supra, n. 30.

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 1          242.    Specifically, with respect to “personal data,” Ledger represented that “we implement

 2 appropriate physical, electronic and organizational procedures to safeguard and secure Personal
 3 Data collected via our Website in order to ensure its integrity and confidentiality.” 61 Ledger further
 4 promises to “ensure that [] personal information is secure” and “communicate [their] privacy and
 5 security guidelines and practices to all [] employees and service providers and strictly enforce
 6 privacy safeguards within [the] company.” 62 These representations were untrue, as there is no
 7 indication that Ledger did anything to ensure the security of its customer data provided to TaskUs
 8 through Shopify. Plaintiff Seirafi and reasonable consumers alike would expect Ledger’s
 9 representations about its “providers’ products,” its “organizational procedures,” and its “servers,”
10 to encompass its contractors and subcontractors, and the individuals employed by such contractors
11 and subcontractors. Especially where, as here, Ledger represents that they “ensure” that their
12 “technical and logistic service providers acting on [their] behalf” provide for “the necessary
13 guarantees with respect to the [General Data Protection Regulation].” 63 And these representations
14 also give rise to a claim based on Ledger’s omissions, as Ledger did not disclose that sensitive
15 customer information would be entrusted to an outsourcing operation that employs individuals
16 located in overseas locations like the Philippines and that Ledger provides no meaningful oversight
17 of such subcontractors. Disclosure of such information is necessary to prevent the representations
18 described above from being misleadingly incomplete.
19          243.    Though Ledger states that “[w]hile we endeavor to do all we can to protect your

20 Personal Data [,] the transmission of information on the Internet is not fully secure,” this purported
21 disclaimer has nothing to do with the specific misrepresentations and omissions described above.
22 Sensitive personal data about consumers was not compromised because it was transmitted over the
23 Internet: rather, it was compromised because it was entrusted to a subcontractor, TaskUs, and Ledger
24 did nothing to ensure that the information would not be disclosed by TaskUs or its overseas
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26   61
      Privacy Policy, Ledger (Mar. 31, 2019),
   https://web.archive.org/web/20190331192622/https://www.ledger.com/pages/privacy-policy (last
27 visited Aug. 21, 2024).
   62
28 63 Id.
      Id.

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 1 employees. That is, a consumer who knows and is informed that information disclosed over the
 2 Internet is not fully secure would still reasonably believe there would be the organizational
 3 safeguards that Ledger represented existed to protect its information.
 4          244.    Ledger’s express false promises regarding security measurements, and yet failure to

 5 implement and maintain reasonable security and privacy measures to protect consumers and
 6 Plaintiff Seirafi and the California Consumer Subclass members’ PII and secure the valuable crypto-
 7 assets, and failure to identify foreseeable security and privacy risks constitute fraudulent business
 8 practices.
 9          245.    Ledger’s representations and omissions were material because they were likely to

10 deceive reasonable consumers about the value of Ledger’s services and the adequacy of Ledger’s
11 data security, ability to protect the confidentiality of consumers’ personal information, and ability
12 to protect the confidentiality of the fact that consumers had purchased a Ledger and/or owned
13 crypto-assets.
14          246.    As a direct and proximate result of Ledger’s deceptive and unlawful acts and

15 practices, Plaintiff Seirafi and the California Consumer Subclass members are entitled to restitution
16 in an amount to be proven at trial, for, among other things, the loss of the benefit of their bargain
17 with Ledger, as they would not have paid Ledger for goods and services or would have paid less for
18 such goods and services but for Ledger’s misconduct.
19          247.    Plaintiff Seirafi and the California Consumer Subclass members seek all monetary

20 and non-monetary relief allowed by law, including restitution of all revenues stemming from
21 Ledger’s unfair, unlawful, and fraudulent business practices or use of their PII; declaratory relief;
22 reasonable attorneys’ fees and costs under California Code of Civil Procedure § 1021.5; injunctive
23 relief; and other appropriate equitable relief.
24          248.    Plaintiff Seirafi and the California Consumer Subclass seek restitution and injunctive

25 relief. Restitution would provide Plaintiff Seirafi and the California Consumer Subclass with
26 damages for past harm, while the injunctive relief is necessary to cease misconduct and dispel
27 misperception. Injunctive relief is appropriate because Ledger continues to misrepresent that their
28 security features should be trusted and is necessary to prevent Ledger from continuing to engage in

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 1 the unfair, fraudulent, and/or unlawful conduct and prevent future harm. The restitution will not
 2 provide adequate remedy for what happened due to the fact that some damages (such as continuous
 3 risk of harm/identity theft/ongoing phishing scams and other damages) cannot be remedied through
 4 a restitution, and injunctive relief would prevent some future harm – such as future
 5 misrepresentations and harm.
 6          249.    Furthermore, Plaintiff Seirafi and the California Consumer Subclass seek attorneys’

 7 fees, costs, and expenses (pursuant to Cal. Code Civ. P. § 1021.5).
 8                                    FOURTH CAUSE OF ACTION

 9                       CALIFORNIA CONSUMER LEGAL REMEDIES ACT

10                                      Cal. Civ. Code § 1750, et seq.

11                  (On Behalf of Plaintiff Seirafi and California Consumer Subclass)

12                                    (Against Defendant Ledger Only)

13          250.    Plaintiff Seirafi incorporates the preceding paragraphs.

14          251.    The Consumers Legal Remedies Act, Cal. Civ. Code § 1750, et seq. (“CLRA”), is a

15 comprehensive statutory scheme that is to be liberally construed to protect consumers against unfair
16 and deceptive business practices in connection with the conduct of businesses providing goods,
17 property or services to consumers primarily for personal, family, or household use.
18          252.    Ledger is “persons” as defined by California Civil Code §§ 1761(c) and 1770 and

19 have provided “goods” and/or “services” as defined by California Civil Code §§ 1761(b) and 1770.
20          253.    California Civil Code § 1770(a)(5) prohibits one who is involved in a transaction

21 from “[r]epresenting that goods or services have sponsorship, approval, characteristics, ingredients,
22 uses, benefits, or quantities [which] they do not have[.]”
23          254.    California Civil Code § 1770(a)(7) prohibits one who is involved in a transaction

24 from “[r]epresenting that goods or services are of a particular standard, quality, or grade . . . if they
25 are of another.”
26          255.    The California Consumer Subclass are “consumers” as defined by California Civil

27 Code §§ 1761(d) and 1770 and have engaged in a “transaction” as defined by California Civil Code
28 §§ 1761(e) and 1770.

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 1          256.    Ledger’s acts and practices were intended to and did result in the sales of products

 2 and services to the California Consumer Subclass members in violation of California Civil Code §
 3 1770.
 4          257.    Ledger’s acts and practices were intended to and did result in the sales of products

 5 and services to the California Consumer Subclass members in violation of California Civil Code §
 6 1770, including, but not limited to, the following:
 7          a.     Representing that goods or services have characteristics that they do not have;

 8          b.     Representing that goods or services are of a particular standard, quality, or grade

 9 when they were not;
10          c.     Advertising goods or services with intent not to sell them as advertised; and

11          d.     Representing that the subject of a transaction has been supplied in accordance with

12 a previous representation when it has not.
13          258.    The misrepresentations and omissions actionable under this claim relate not to the

14 Ledger wallets themselves but rather to Ledger’s claimed security practices surrounding the wallets,
15 namely its handling of sensitive purchaser information consumers had to provide to obtain and use
16 the wallets. Among other things, Ledger represented that “[w]e are a unique digital security
17 ecosystem that provides protection and is built upon verifiable trust across our people, hardware,
18 and software” and that Ledger “continuously look[s] for vulnerabilities on Ledger products as well
19 as our providers’ products in an effort to analyze and improve the security.” 64 Plaintiff Seirafi relied
20 on Ledger’s data security representations such as this. For example, Ledger advertised the Ledger
21 Nano X as able to keep “your data [] safe everywhere you go.” 65
22          259.    Specifically, with respect to “personal data,” Ledger represented that “we implement

23 appropriate physical, electronic and organizational procedures to safeguard and secure Personal
24 Data collected via our Website in order to ensure its integrity and confidentiality.” 66 Ledger further
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26   64
      Supra, n. 3.
     65
      Supra, n. 30.
27 66 Privacy Policy, Ledger (Mar. 31, 2019),
28 https://web.archive.org/web/20190331192622/https://www.ledger.com/pages/privacy-policy (last
   visited Aug. 21, 2024).

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 1 promises to “ensure that [] personal information is secure” and “communicate [their] privacy and
 2 security guidelines and practices to all [] employees and service providers and strictly enforce
 3 privacy safeguards within [the] company.” 67 These representations were untrue, as there is no
 4 indication that Ledger did anything to ensure the security of its customer data provided to TaskUs
 5 through Shopify. Plaintiff Seirafi and reasonable consumers alike would expect Ledger’s
 6 representations about its “providers’ products,” its “organizational procedures,” and its “servers,”
 7 to encompass its contractors and subcontractors, and the individuals employed by such contractors
 8 and subcontractors. Especially where, as here, Ledger represents that they “ensure” that their
 9 “technical and logistic service providers acting on [their] behalf” provide for “the necessary
10 guarantees with respect to the [General Data Protection Regulation].” 68 And these representations
11 also give rise to a claim based on Ledger’s omissions, as Ledger did not disclose that sensitive
12 customer information would be entrusted to an outsourcing operation that employs individuals
13 located in overseas locations like the Philippines and that Ledger provides no meaningful oversight
14 of such subcontractors. Disclosure of such information is necessary to prevent the representations
15 described above from being misleadingly incomplete.
16              260.   Though Ledger states that “[w]hile we endeavor to do all we can to protect your

17 Personal Data [,] the transmission of information on the Internet is not fully secure,” this purported
18 disclaimer has nothing to do with the specific misrepresentations and omissions described above.
19 Sensitive personal data about consumers was not compromised because it was transmitted over the
20 Internet: rather, it was compromised because it was entrusted to a subcontractor, TaskUs, and Ledger
21 did nothing to ensure that the information would not be disclosed by TaskUs or its overseas
22 employees. That is, a consumer who knows and is informed that information disclosed over the
23 Internet is not fully secure would still reasonably believe there would be the organizational
24 safeguards that Ledger represented existed to protect its information.
25              261.   Each Plaintiff relied on these representations prior to purchasing Ledger Products

26 and/or Services.
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     67
28        Id.
     68
          Id.

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 1          262.    Ledger’s representations and omissions were material because they were likely to

 2 and did deceive reasonable consumers about the adequacy of Ledger’s data security and ability to
 3 protect the confidentiality of consumers’ personal information, including the confidentiality of the
 4 fact that consumers purchased a Ledger devices or service and, therefore, owned crypto-assets.
 5          263.    If Ledger disclosed to the California Consumer Subclass members that their data

 6 systems were not secure and, thus, vulnerable to attack, Ledger would have been unable to continue
 7 in business and would have been forced to adopt reasonable data security measures and comply with
 8 the law.
 9          264.    Instead, Ledger received, maintained, and compiled the California Consumer

10 Subclass members’ personal information as part of the services Ledger provided without advising
11 the California Consumer Subclass members that Ledger’s data-security practices were insufficient
12 to maintain the safety and confidentiality of the California Consumer Subclass members’ personal
13 information. Accordingly, the California Consumer Subclass members acted reasonably in relying
14 on Ledger’s misrepresentations and omissions, the truth of which they could not have discovered.
15          265.    As a direct and proximate result of Ledger’s violations of California Civil Code §

16 1770, the California Consumer Subclass members are entitled to injunctive relief. Plaintiff Seirafi
17 has provided the notice required by California Civil Code § 1782(a) and, Ledger has not cured or
18 taking any action to cure its representations/actions.
19          266.    Plaintiff Seirafi and the California Consumer Subclass members seek all monetary

20 and non-monetary relief allowed by law, including damages, punitive damages, an order enjoining
21 the acts and practices described above, attorneys’ fees, and costs under the CLRA.
22          267.    Punitive damages are justified because: (1) such damages are integral to the remedial

23 scheme of the CLRA; (2) Ledger made intentional misrepresentations to consumers; and (3) Ledger
24 acted with reckless indifference to protecting the security of its customers’ private information.
25 malice and in a despicable manner
26          268.    The restitution and injunctive relief will provide for different damages. The

27 restitution will provide damages for past harm; however, injunctive relief would prevent future
28 misrepresentations and prevent future injustice.

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 1                                      FIFTH CAUSE OF ACTION

 2                        NEW YORK DECEPTIVE TRADE PRACTICES ACT,

 3                                     N.Y. Gen. Bus. Law § 349, et seq.

 4                 (On Behalf of the New York Subclass and New York Phishing Subclass)

 5                                          (Against DefendantTaskUs)

 6         269.       Plaintiffs incorporate the preceding paragraphs.

 7         270.       New York General Business Law Section 349 declares unlawful “[d]eceptive acts or

 8 practices in the conduct of any business, trade, or commerce or in the furnishing of any service in
 9 this state….”
10         271.       TaskUs committed unfair business acts and practices in violation of the New York

11 General Business Law § 349 et seq, by:
12            i.      Failing to implement and maintain reasonable security and privacy measures to

13                    protect Plaintiff Collinger and the New York Subclass members’ PII, which was a

14                    direct and proximate cause of the Data Breach;

15           ii.      Failing to identify foreseeable security and privacy risks, remediate identified

16                    security and privacy risks, and adequately improve security and privacy measures

17                    following previous cybersecurity incidents, which was a direct and proximate cause

18                    of the Data Breach;

19          iii.      Failing to comply with common law and statutory duties pertaining to the security

20                    and privacy of Plaintiff Collinger and the New York Subclass members’ PII,

21                    including duties imposed by the FTCA, 15 U.S.C. § 45, which was a direct and

22                    proximate cause of the Data Breach;

23           iv.      Omitting, suppressing, and concealing the material fact that it did not reasonably or

24                    adequately secure the New York Subclass members’ PII; and

25         272.       Omitting, suppressing, and concealing the material fact that it did not comply with

26 common law and statutory duties pertaining to the security and privacy of the New York Subclass
27 members’ PII, including duties imposed by the FTCA, 15 U.S.C. § 45.
28

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1          273.   As a result of TaskUs’s actions and omissions, Plaintiff Collinger and the New York

2 Subclass suffered damages, and seek damages, equitable and injunctive relief, as well as reasonable
3 attorneys’ fees and costs.
4                                        PRAYER FOR RELIEF

5          On behalf of themselves, the Classes, and the Subclasses, Plaintiffs request as follows:
6
              (a) That the Court determines that this Action may be maintained as a Class Action, that
7
                  Plaintiffs be named as Class Representatives of the Classes and Subclasses, that the
8
                  undersigned be named as Lead Class Counsel of the Classes and Subclasses, and that
9
                  notice of this Action be given to Class and Subclass members;
10
              (b) That the Court enter an order declaring that Defendants’ actions, as set forth in this
11
                  Complaint, violate the laws set forth above;
12
              (c) That the Court award Plaintiffs, the Classes, and Subclasses damages in an amount
13
                  to be determined at trial;
14
              (d) That the Court issue appropriate equitable and any other relief against Defendants to
15
                  which Plaintiffs, the Classes, and Subclasses are entitled, including but not limited
16
                  to restitution and an Order requiring Defendants to cooperate and financially support
17
                  civil and/or criminal asset recovery efforts;
18
              (e) For an order granting permanent injunctive relief to prohibit Defendants from
19
                  continuing to engage in the unlawful acts, omissions, and practices described herein,
20
                  including:
21
                        (i)     Requiring Defendants to implement and maintain a comprehensive
22
                                Information Security Program designed to protect the confidentiality and
23
                                integrity of Plaintiffs and Class Members’ Private Information;
24
                        (ii)    Requiring Defendants to engage independent third-party security
25
                                auditors/penetration testers as well as internal security personnel to
26
                                conduct automated security monitoring and testing, including simulated
27
                                attacks, penetration tests, and audits on Defendants’ systems on a
28

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1                           periodic basis, and ordering Defendants’ to promptly correct any

2                           problems or issues detected by such third-party security auditors; protect

3                           all data collected through the course of their business in accordance with

4                           all applicable regulations, industry standards, and federal, state or local

5                           laws;

6                    (iii) Requiring Defendants to delete, destroy and purge the Private

7                           Information of Plaintiffs and Class Members unless Defendants can

8                           provide to the Court reasonable justification for the retention and use of

9                           such information when weighed against the privacy interests of Plaintiffs

10                          and Class Members;

11                   (iv) Requiring Defendants to audit, test, and train their security personnel

12                          regarding any new or modified procedures;

13                   (v)    Requiring Defendants to segment data by, among other things, creating

14                          firewalls and access controls so that if one area of Defendants’ networks

15                          is compromised, hackers cannot gain access to other portions of

16                          Defendant’s systems;

17                   (vi) Requiring Defendants to conduct regular database scanning and securing

18                          checks;

19                   (vii) Requiring Defendants to establish an information security training

20                          program that includes at least annual information security training for all

21                          employees, with additional training to be provided as appropriate based

22                          upon employees’ respective responsibilities with handling Private

23                          Information, as well as protecting the Private Information of Plaintiffs

24                          and Class Members;

25                   (viii) Requiring Defendants to routinely and continually conduct internal

26                          training and education, at least annually, to inform internal security

27                          personnel how to identify and contain a breach when it occurs and what

28                          to do in response to a breach;


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1                      (ix) Requiring Defendants to implement a system of testing to assess their

2                             respective employees’ knowledge of the education programs discussed

3                             in the preceding subparagraphs, as well as randomly and periodically

4                             testing employees’ compliance with Defendants’ policies, programs and

5                             systems for protecting Private Information;

6                      (x)    Requiring Defendants to implement, maintain, regularly review and

7                             revise as necessary, a threat management program designed to

8                             appropriately monitor Defendants’ information networks for threats,

9                             both internal and external, and assess whether monitoring tools are

10                            appropriately configured, tested, and updated;

11                     (xi) Requiring Defendants to meaningfully educate all Class Members about

12                            the threats they face as a result of the loss of their Private Information to

13                            third parties, as well as the steps affected individuals must take to protect

14                            themselves;

15                     (xii) Requiring Defendants to implement logging and monitoring programs

16                            sufficient to track traffic to and from its clients’ servers;

17                     (xiii) Appointing a qualified and independent third-party assessor to conduct

18                            for a period of 10 years a SOC 2 Type 2 attestation to evaluate on an

19                            annual basis Defendants’ compliance with the terms of the Court’s final

20                            judgment, to provide such report to the Court and to counsel for the class,

21                            and to report any deficiencies in compliance with the Court’s final

22                            judgment; and

23                     (xiv) Prohibiting Defendants from engaging in the wrongful and unlawful acts

24                            described herein.

25            (f) That the Court award Plaintiffs, the Classes, and Subclasses pre- and post-judgment

26               interest (including pursuant to statutory rates of interest set under State law);

27            (g) That the Court award Plaintiffs, the Classes, and Subclasses their reasonable

28               attorneys’ fees and costs of suit;


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1             (h) That the Court award treble and/or punitive damages insofar as they are allowed by

2                 applicable laws; and

3             (i) That the Court award any and all other such relief as the Court may deem just and

4                 proper under the circumstances.

5                                            JURY TRIAL

6          Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs respectfully demand a trial by

7 jury for all claims.
8
9 Dated: August 22, 2024                        Respectfully submitted,

10                                              /s/ Yana Hart
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